Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 1 of 45




   EXHIBIT C
     Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 2 of 45




                         UNITED STATES DISTRICT COURT

                       NORTHERN DISTRICT OF CALIFORNIA


THE BOARD OF TRUSTEES OF THE LELAND
STANFORD JUNIOR UNIVERSITY,

       Plaintiffs,

v.                                                      Case No. 3:18-CV-01199 VC

AGILENT TECHNOLOGIES, INC., a Delaware
corporation; HEWLETT-PACKARD COMPANY,
a California corporation; HEWLETT-PACKARD
COMPANY, a Delaware corporation; and HP
INC., a Delaware corporation,

       Defendants,

       AND RELATED CROSS-ACTIONS.



                        EXPERT REPORT OF ADAM H. LOVE

                     On behalf of Agilent Technologies, Inc. and HP Inc.

                                     December 9, 2019
             Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 3 of 45




                                    Expert Report
                                    of Adam H. Love, Ph.D.

                                     United States District Court
                                     Northern District of California, San
                                     Francisco Division
                                     Prepared for:
                                     Environmental General Counsel LLP

                                     Prepared by:
                                     Roux Associates, Inc.
                                     555 12th Street, Suite 250
                                     Oakland, California 94607
                                     December 9, 2019


                                         The Board of Trustees of the Leland
                                             Stanford Junior University

                                                              vs.

                                              Agilent Technologies, Inc.,
                                                      and HP Inc.
                                            CASE NO. 3:18-CV-01199 VC




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               Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 4 of 45




Table of Contents
   Introduction .................................................................................................................................1
        Qualifications .......................................................................................................................................... 1
        Testifying Appearances .......................................................................................................................... 2
   OPINIONS AND BASES FOR OPINIONS ..................................................................................4
        OPINION 1: During Granger’s lease period, 1962-1970, Granger would have used significant
        quantities of both PCBs and TCE in their site operations. ..................................................................... 4
        OPINION 2: Granger’s dust control and soil movement contributed PCBs and deposited PCBs
        throughout the site. ................................................................................................................................. 8
        OPINION 3: Granger released TCE to the soil below the facility as a result of its facility operations. . 10
        OPINION 4: During HP/Agilent ‘s lease period, 1970-2005, they did not use PCBs and used TCE for
        only a short period (1971-1977), and neither accounts for a material portion, if any, of PCB or TCE
        conditions found at the Site. ................................................................................................................. 12
        OPINION 5: HP/Agilent did not cause significant expansions of PCBs impacts at the site Both HP .. 15
        OPINION 6: HP/Agilent’s environmental impacts from use of TCE in their operations are reasonably
        expected to be insignificant. ................................................................................................................. 15
        OPINION 7: The PCB and TCE soil impacts are divisible between Granger and HP/Agilent. ............ 19
        OPINION 8: Given the divisibility of the contamination between Granger and HP/Agilent, the average
        apportionment of contamination between Granger and HP/Agilent is approximately 94% for Granger
        (89%-98%) and 6% for HP/Agilent (2%-11%). ..................................................................................... 24




                                                                                                                                       Expert Report | ROUX | i
          Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 5 of 45




Introduction
  My name is Adam Hamilton Love and I am a Vice President and Principal Scientist at Roux
  Associates, Inc., located at 555 12th Street, Suite 250, Oakland, California 94607. I have been
  retained by Environmental General Counsel LLP as an expert on behalf of HP, Inc. and Agilent
  Technologies, Inc. I was asked to provide opinions regarding the source of site contamination, the
  divisibility of site contamination, and the apportionment of divisible shares of environmental impacts
  relating to the site at 1601 S. California Avenue, Palo Alto, California. In this report I present my
  qualifications, summarize background information regarding the matter, and present my opinions
  and the bases for those opinions. I was compensated at a rate of $365 per hour for this
  engagement. While I have reviewed numerous documents, the documents upon which I relied on
  in the preparation of this report are listed in the footnotes of this report.

  The conclusions stated herein represent the application of my education, training, and experience
  within the disciplines of engineering, geology, hydrogeology, chemistry, fate and transport, and
  environmental forensics to the facts and conditions associated with the Site involved with this
  litigation. The conclusions set forth in this report are based, in part, upon the facts, information, and
  data that have been produced in the discovery process of this litigation and provided to me by
  counsel, and/or which I obtained during the course of my investigation. To the extent that any of
  the underlying facts, information, or data change or are amended, I reserve the right to consider
  modifying my conclusions and opinions, if necessary and appropriate. I anticipate supplements to
  this Expert Report may be necessary in the future, as additional technical issues become relevant.

  Qualifications
  I hold a Bachelor of Arts degree in Geosciences from Franklin & Marshall College (1996), a Master
  of Science degree from University of California at Berkeley in Material Science and Mineral
  Engineering (1998), and a Doctor of Philosophy degree from University of California at Berkeley in
  Civil and Environmental Engineering (2002). I have over 20 years of experience in environmental
  forensics, site characterization, remediation, and contamination transport analyses.

  From 1996 to 2002, I served as a graduate student researcher at University of California at
  Berkeley, where I participated in contaminant transport and environmental forensic evaluations,
  including the development of new techniques for environmental pollution reconstruction and
  allocation. From 2002 to 2009, I served as a scientist at the Forensic Science Center at Lawrence
  Livermore National Laboratory. My experience working at the Forensic Science Center included:
  1) research and development projects – enhancing understanding of pollutant characteristics and
  development       of     technology     for    characterization,     remediation,      and     source
  reconstruction/contribution analysis, and 2) operations projects – site applications of contaminant
  transport modelling and source reconstruction/contribution. From 2009 to 2013, I served as
  Principal Scientist at Johnson Wright, Inc., where I provided consultation services to various private
  companies and the federal government. I led Johnson Wright’s Environmental Forensics practice,
  where I performed and oversaw corporate best practices for determination of source, timing, and
  allocation analyses at contaminated sites. Since 2013, I have served as Principal Scientist at Roux
  Associates, Inc., where I am currently the corporate Practice Area Leader for Litigation Services
  and continue to provide consultation services to various companies, state and local municipalities,




                                                                                       Expert Report | ROUX | 1
        Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 6 of 45




and federal agencies regarding site investigations, remediation, exposure assessment, and
environmental forensics.

I have been involved as an expert at numerous contaminated sites with TCE and/or PCB
contamination. Some recent case involving TCE and/or PCBs are: 1) Von Duprin LLC v. Moran
Electric Service, Inc. Major Holdings, LLC, Major Tool and Machine, Inc., and Zimmer Paper
Products Incorporated (TCE); 2) Chemtronics Inc. v. Northrop Grumman Systems Corp. American
Arbitration Association Arbitration. (TCE), 3) Siltronic Corporation v. Employers Insurance
Company of Wausau et al. (TCE); 4) Arrow Electronics, Inc. v. Aetna Casualty & Surety Co., et al.
(TCE); 4) Sunflower Redevelopment, LLC v. Illinois Union Insurance Company. (PCBs and TCE);
5) Lennar Mare Island, LLC v. Steadfast Insurance Company. (PCBs and TCE).

In addition, I am frequently utilized as an expert related to Federal EPA Superfund allocations or
apportionment of environmental liabilities in the context of litigation at both large and small sites. I
lecture throughout the country on the topics of 1) technical approaches to divisibility and
apportionment of environmental harm, and 2) allocation of environmental liabilities. For example,
in 2019, I was a co-presenter for a CLE accredited webinar entitled “Marshalling the Divisibility
Defense to CERCLA Liability: Apportionment – Is the Harm Distinguishable?” and presented a
CLE-accredited lecture on “Environmental Forensic Tools for Establishing Divisibility.” I also co-
authored an article in the Journal of Remediation in December 2019 titled “Allocating cleanup costs
among potentially responsible parties.”

In addition to this expert work, I have provided broader environmental consulting services at
numerous locations across the country, some locations where TCE and/or PCB releases have
occurred. In this capacity, I have performed site assessments, reviewed and provided technical
comments on the work of other consultants, determined the source, timing and transport of
releases, evaluated site conditions in comparison to clean-up requirements, achieved regulatory
closure through a “No Further Action” designation, and evaluated the standards of practice in the
industry.

Testifying Appearances
My expert testifying appearances within the last 4 years are listed below.

    •   Goldberg v. Goss-Jewett Company, Inc., et al., United States District Court, Central District
        of California. Case No. EDCV14-01872 DSF (AFMx). Deposition May 25, 2016; September
        26, 2019. Expert Report. Rebuttal Report. Additional Rebuttal Report.
    •   Von Duprin LLC v. Moran Electric Service, Inc. Major Holdings, LLC, Major Tool and
        Machine, Inc., and Zimmer Paper Products Incorporated. United States District Court
        Southern District of Indiana, Indianapolis Division. Case No. 1:16-CV-01942-TWP-DML.
        Deposition June 7, 2018. Trial July 31, 2019. Expert Report.
    •   King County, Washington v. Traveler’s Indemnity Co., et al. United States District Court.
        Western District of Washington. Case No. 14-cv-1957. Deposition April 9, 2019. Rebuttal
        Report.
    •   Chemtronics Inc. v. Northrop Grumman Systems Corp. American Arbitration Association
        Arbitration. Case No. 01-17-0007-1884. Arbitration Testimony November 12-13, 2018.
        Expert Report. Rebuttal Report. Supplemental Report.



                                                                                    Expert Report | ROUX | 2
        Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 7 of 45



    •   Estate of Robert Renzel, Deceased et al. v. estate of Lupe Ventura, Deceased, et al. United
        States District Court, Northern District of California. Case No. 4:15-cv-1648-HSG.
        Deposition August 27, 2018. Expert Declaration. Expert Report. Rebuttal Report.
    •   Power Authority of the State of New York v. The tug M/V Ellen S. Bouchard, et al. United
        States District Court, Southern District of New York. Case No. 14-cv-4462 (PAC).
        Deposition May 30, 2018. Expert Report.
    •   Siltronic Corporation v. Employers Insurance Company of Wausau et al. United States
        District Court, Central District of Oregon. Case No. 3:11-cv-01493-BR. Deposition May 24,
        2018. Expert Report.
    •   Crown Central, LLC v. Petroleum Marketing Investment Group, LLC, et al. Circuit Court for
        Baltimore County, Maryland. Case No. 03-C-16-010774 CN. Deposition December 19,
        2017. Expert Declaration. Rebuttal Declaration.
    •   Sunflower Redevelopment, LLC v. Illinois Union Insurance Company. United States
        District Court, Western District of Missouri, Western Division. Case No. 4:15-cv-00577-
        DGK. Deposition November 10, 2017. Rebuttal Report. Supplemental Report.
    •   Insurance Company of the State of Pennsylvania v. County of San Bernardino. United
        States District Court, Central District of California. Case No. 5:16-cv-00128-PSG-SS.
        Deposition June 15, 2017. Expert Report. Rebuttal Report.
    •   Lennar Mare Island, LLC v. Steadfast Insurance Company. United States District Court,
        Eastern District of California, Sacramento Division. Case No. 2:12-cv-02182-KJM-KJN.
        Case No.2:16-cv-00291-KJM-CKD860. Deposition May 26, 2017. Expert Report.
        Supplemental Report.
    •   860 Kaiser, LLC v. Greene’s Cleaners, Inc., Napa County Superior Court. Case No: 26-
        63995. Deposition January 11, 2016, September 12, 2016. September 26, 2016. Expert
        Declaration.
    •   Lewis v. Russell, United States District Court, Eastern District of California. Case No. CIV.
        S-03-02646 WBS AC. Deposition July 20, 2016. Expert Report. Rebuttal Report.
        Supplemental Report.
Please also refer to my resume, which is attached as Exhibit A.




                                                                                  Expert Report | ROUX | 3
          Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 8 of 45




OPINIONS AND BASES FOR OPINIONS
  OPINION 1: During Granger’s lease period, 1962-1970, Granger would have
  used significant quantities of both PCBs and TCE in their site operations.
  Granger Associates “designed, developed, and produced a wide range of products related to radio
  communications” 1 and was a “major supplier of communications equipment” “throughout the
  world.” 2 The “principal Granger Associates plant [was] located in Palo Alto, California at 1601
  California Avenue.” 3 A branch factory used for large-scale, heavy fabrication, storage, crating, and
  shipping was located in San Carlos, California. 4,5

  During the period of Granger’s operations, Stanford owned the property at 1601 California Avenue
  in Palo Alto, California. “Nokia admits that Granger Associates leased the Property from Stanford
  under the Ground Lease from March 1, 1962 through August 12, 1963, and that from August 12,
  1963 to May 1, 1970, Granger Associates occupied the Property under a sub-lease between itself
  and March Haynes, the assignee of the Ground Lease.” 6


  PCBs Use in Granger Site Operations

  Granger’s site operations and each of Granger’s transformer products involved transformer oil that
  would have contained PCBs. EPA has summarized information regarding PCBs in transformer oil 7
  used during the period of Grangers operations at the site:

      •   PCBs were “manufactured in the US under the trade name Aroclor before manufacture was
          prohibited by the regulations in 1979. Aroclors, which are waxes or oils, were liquefied using
          technical grade tri- and tetrachlorobenzenes.” 8 “PCBs are chlorinated fire-resistant fluids
          that meet the definition established in the National Electrical Code (NEC) for askarel, the
          generic name for non-flammable synthetic chlorinated hydro-carbons used for insulating


  1 Granger Associates. Survey of General Capabilities in Engineering and Production. November 1964.
  Page 1. (IM_NOKIA_00029472.0002)
  2 Granger Associates. Survey of General Capabilities in Engineering and Production. November 1964.

  Page 1. (IM_NOKIA_00029472.0002)
  3 Granger Associates. Survey of General Capabilities in Engineering and Production. November 1964.

  Page 2. (IM_NOKIA_00029472.0003)
  4 Granger Associates. Survey of General Capabilities in Engineering and Production. November 1964.

  Page 3,5. (IM_NOKIA_00029472.0004;0006)
  5 Granger Associates. Bureau of Ships Bidders List Information. August 1964. Page 2-11.

  (IM_NOKIA_00004229.0018)
  6 Third Party Defendant Nokia of America Corporation’s Responses to Request for Admission (Set 1) from

  Agilent Technologies, Inc. and HP Inc. United States District Court. Northern District of California, San
  Francisco Division. 3:18-CV-01199 VC. August 28, 2019. Page 7.
  7 Note: While modern concerns and regulation of PCBs in oil are the result of PCB contamination of mineral

  or petroleum oils (https://www.epa.gov/sites/production/files/2018-
  01/documents/placeholder_for_pcbs_in_used_oil_fact_sheet.pdf) , askarel transformer oils used during
  Granger period of operations do not have mineral or petroleum oil as a component. (Oak Ridge National
  Laboratory. Development of a Portable Field Monitor for PCBs. Electric Power Research Institute. January
  1983. Table 1-1.)
  8 https://www.epa.gov/sites/production/files/documents/pcbidmgmt.pdf. Accessed Nov 8, 2019.




                                                                                        Expert Report | ROUX | 4
        Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 9 of 45



        media.” 9 “Askarel transformers, containing 40 to 60 percent PCBs, with the remainder of
        the fluid being chlorobenzenes, were manufactured in the United States from 1929 to 1978.
        Askarel transformers were made in a variety of sizes, containing from three to 3,000 gallons
        (average 235 gallons) of liquid.” 10

Granger made numerous products utilizing transformer oil, and those oils would certainly have
contained PCBs. When Granger occupied the site, Nokia admits they “manufactured a transmission
line coupler (transformer Model 555-7) and a transmitting multicoupler (Model 520F),” 11 that
“contained transformer oil.” 12

    •   The Model 555-7 transmission line coupler was a device that coupled 600-ohm transmission
        lines to 50-ohm transmission lines using a balun transformer. 13 Transformer oil was used
        as a “coolant” in the device and each Model 555-7 contained 12 gallons of transformer oil. 14
        Model 555-7 was “shipped from the factory filled with insulating oil. “ 15

    •   The Model 520F Transmitting Multicoupler was a device that coupled outputs from two
        transmitters, operating at different frequencies, to a single antenna. 16 Transformer oil was
        used as a “coolant” and each Model 520F contained 27 gallons of transformer oil. 17 Model
        520F was shipped “oil-filled” 18 and water tight.

    •   In addition, at least one other transformer appears to have been produced on site, as
        Granger described an additional product it produced as “a tunable four channel transmitting
        multicoupler (1. 5 kw avg power).” 19




9 https://www.epa.gov/sites/production/files/2013-09/documents/pcbinspectmanual.pdf. Accessed Nov 8,
2019.
10 https://www.epa.gov/sites/production/files/2013-09/documents/pcbinspectmanual.pdf. Accessed Nov 8,

2019.
11 Third Party Defendant Nokia of America Corporation’s Responses to Interrogatories (Set 1) from Agilent

Technologies, Inc. and HP Inc. United States District Court. Northern District of California, San Francisco
Division. 3:18-CV-01199 VC. August 28, 2019. Page 10.
12 Third Party Defendant Nokia of America Corporation’s Responses to Request for Admission (Set 1) from

Agilent Technologies, Inc. and HP Inc. United States District Court. Northern District of California, San
Francisco Division. 3:18-CV-01199 VC. August 28, 2019. Page 15.
13 Granger Associates. Preliminary Technical Manual for Transmission Line Coupler (Granger Associates

Transformer Model 555-7). October 1966. Page 1-1a. (IM_NOKIA_00031284.0006-7)
14 Granger Associates. Preliminary Technical Manual for Transmission Line Coupler (Granger Associates

Transformer Model 555-7). October 1966. Page 2. (IM_NOKIA_00031284.0008);
15 Granger Associates. Preliminary Technical Manual for Transmission Line Coupler (Granger Associates

Transformer Model 555-7). October 1966. Page 3. (IM_NOKIA_00031284.0009)
16 Granger Associates. Installation and Maintenance Manual. Model 520F. Transmitting Multicoupler.

December 1967. Page 1 (IM_NOKIA_00002688.0001)
17 Granger Associates. Installation and Maintenance Manual. Model 520F. Transmitting Multicoupler.

December 1967. Page 2 (IM_NOKIA_00002688.0002)
18 Granger Associates. Installation and Maintenance Manual. Model 520F. Transmitting Multicoupler.

December 1967. Page 2 (IM_NOKIA_00002688.0002)
19 Granger Associates. Bureau of Ships Bidders List Information. August 1964. Page 3-3.

(IM_NOKIA_00004229.0025)




                                                                                        Expert Report | ROUX | 5
       Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 10 of 45



Also, as part of the product design, testing, and development process, Granger’s general
engineering facility utilized “[p]umps and storage facilities for handling standard transformer oil.” 20

Nokia also admits that when Granger operated the site, the site contained “a transformer (bearing
City No. 4055)” 21 for managing the facility’s electrical voltage. According to site maps, 22 the
transformer owned and operated by the City of Palo Alto was located on the southwest side of
Building I within or near the Annex. There are no reports of releases from the city transformer.
Fluorescent light ballasts may have been in the facility, but they are primarily a potential indoor air
hazard and contain a relatively trivial amount of PCBs. 23 Thus, neither the city transformer nor the
light ballasts are reasonably expected to be a significant source, if at all, of PCBs to the observed
PCB soil contamination throughout the Site.

While it is reasonable to conclude that Granger used significant quantities of PCBs in their site
operations, such use did not include regulatory handling requirements or disposal restrictions for
the askarel transformer oils. There is also no documentation of Granger’s handling and disposal
procedures related to their use of askarel transformer oils that would have prevented the release
of transformer from manufacturing operations to the surrounding soil. EPA estimates that that over
half of the PCBs sold in the United States were disposed of before enactment of federal regulations
in 1976. 24

Consistent with Granger’s use of PCBs in transformer oil, soil contamination at site includes both
PCBs and several volatile organic compounds associated with chlorobenzenes. 25 The presence in
soil of both PCBs and chlorobenzenes is indicative of Grangers use of askarel transformer oils
containing PCBs, and that Granger is a source of PCB contamination to site soils based on their
use of transformer oils.


TCE in Granger Site Operations

Granger’s site operations would have extensively utilized TCE in cleaning the parts manufactured
at the facility. “The use of TCE in the United States peaked in 1970, and thereafter began a
significant decline due to a combination of several regulatory and economic factors.” 26




20 Granger Associates. Bureau of Ships Bidders List Information. August 1964. Page 2-13.

(IM_NOKIA_00004229.0020)
21 Third Party Defendant Nokia of America Corporation’s Responses to Request for Admission (Set 1) from

Agilent Technologies, Inc. and HP Inc. United States District Court. Northern District of California, San
Francisco Division. 3:18-CV-01199 VC. August 28, 2019. Page 11.
22 Birge M. Clark, Walter Stromquist, David F. Potter, Joseph Ehrlich Architects. Plot Plan-Site Details-

Sheet Index-Legend & Etc., Sheet A-1. dated 4/13/62. (STAN0058619)
23 EPA. Proper Maintenance, Removal, and Disposal of PCB-Containing Fluorescent Light Ballasts.

https://www.epa.gov/sites/production/files/documents/PCBsInBallasts.pdf. Accessed November 26, 2019.
24 National Research Council. 2001. A Risk-Management Strategy for PCB-Contaminated Sediments.

Washington, DC: The National Academies Press. Pg 27. https://www.nap.edu/read/10041/chapter/4#26.
25 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue. Palo

Alto, California. October 2017. Section 2.2.1, Page 4.
26 Doherty, R.H. 2000. A History of the Production and Use of Carbon Tetrachloride, Tetrachloroethylene,

Trichloroethylene and 1,1,1-Trichloroethane in the United States: Part 2 - Trichloroethylene and 1,1,1-
Trichloroethane. J. Environmental Forensics. 1. Page 87.




                                                                                      Expert Report | ROUX | 6
       Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 11 of 45



Granger’s production capability included various metal fabrication steps for the equipment they
manufactured, including metal working and plating. 27 Both metal working and metal plating require
metal degreasing of the parts being handled. As an example of their degreasing operations, Nokia
admits that when Granger operated the site, the site contained a “a vapor degreaser.” 28

It is nearly certain that Granger’s degreasing operations utilized TCE. “During the 1960s, TCE's
combination of price and performance made it the most popular vapor degreasing solvent in the
United States.” 29 “The primary historical use of TCE is for vapor degreasing.” 30 “TCE was found to
be more advantageous than other degreasing solvents, including alkaline cleaners, because it was
able to degrease a part several times faster and consume less energy in the process.” 31 Categories
of degreasing that used TCE included “fabricated metal parts” and “electrical and electronic
equipment.” 32

Granger manufacturing operations also included printed circuit board assembly. 33 Electronics
cleaning is an integral part of the production of high reliability electronics, including defluxing and
other cleaning operations. 34 During the time Granger operated on site, TCE was commonly used
for electronics cleaning related to printed circuit boards. 35

While it is reasonable to conclude that Granger used significant quantities of TCE in their site
operations, such use did not include regulatory handling requirements or disposal restrictions for
chlorinated solvents. There is also no documentation of Granger’s handling and disposal
procedures related to their use of TCE that would have prevented the release of TCE from
manufacturing operations to the surrounding soil.

Consistent with Granger’s use of TCE for cleaning operations, soil contamination at the site
includes TCE. The presence of TCE within Granger’s waste handling system (piping and plating




27 Granger Associates. Bureau of Ships Bidders List Information. August 1964. Page 2-12.
(IM_NOKIA_00004229.0019)
28 Third Party Defendant Nokia of America Corporation’s Responses to Request for Admission (Set 1) from

Agilent Technologies, Inc. and HP Inc. United States District Court. Northern District of California, San
Francisco Division. 3:18-CV-01199 VC. August 28, 2019. Page 13.
29 Doherty, R.H. 2000. A History of the Production and Use of Carbon Tetrachloride, Tetrachloroethylene,

Trichloroethylene and 1,1,1-Trichloroethane in the United States: Part 2 - Trichloroethylene and 1,1,1-
Trichloroethane. J. Environmental Forensics. 1. Page 86.
30 Morrison, R.D. and Murphy, B.L. 2013. Chlorinated Solvents: A Forensic Evaluation. RSC Publishing.

Page 139.
31 Morrison, R.D. and Murphy, B.L. 2013. Chlorinated Solvents: A Forensic Evaluation. RSC Publishing.

Page 139-140.
32 Morrison, R.D. and Murphy, B.L. 2013. Chlorinated Solvents: A Forensic Evaluation. RSC Publishing.

Page 140.
33 Granger Associates. Bureau of Ships Bidders List Information. August 1964. Page 2-12.

(IM_NOKIA_00004229.0019)
34 EPA. The U.S. Solvent Cleaning Industry and the Transition to Non Ozone Depleting Substances.

September 2004. Page 2. https://www.epa.gov/sites/production/files/2014-
11/documents/epasolventmarketreport.pdf. Accessed November 10, 2019.
35 1105 Seconds Street, Encinitas, California.

https://www.waterboards.ca.gov/sandiego/board_decisions/adopted_orders/2017/R9-2017-0041.pdf
Accessed November 18, 2019; CTS Printex site in Mountain View, California.
https://semspub.epa.gov/work/09/1126447.pdf Accessed November 18, 2019.




                                                                                      Expert Report | ROUX | 7
       Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 12 of 45



sump) 36 and in the soil in the vicinity of Granger’s solvent waste handling system 37 is indicative of
Grangers use of TCE, and that Granger is a source of TCE contamination to site soils based on
their use of TCE is various manufacturing operations.


OPINION 2: Granger’s dust control and soil movement contributed PCBs
and deposited PCBs throughout the site.
In addition to Granger’s manufacturing operations use of PCBs as a source of PCBs to site
contamination discussed in Opinion 1, other Granger activities during their lease period would have
contributed PCBs to the site soils and spread contaminated soil throughout the parcel.

Granger’s Direct Land Application of PCB-containing Oils

Site documents indicate Granger maintained an “oil-screened access road,” 38 which is reasonably
expected to have resulted in PCB contamination of the soil on the parcel. Oil-screening a road,
which was a common practice during the period Granger occupied the site, involves spraying oil
on the bare soil surface in order to reduce the amount of dust generated. While PCBs were in some
dust suppression formulations, 39 it is well-documented that PCB-containing used oils were
extensively applied for dust suppression:

            •   EPA: “EPA will stop use of waste oil containing any level of PCBs for dust control.
                PCB-contaminated waste oil is now used extensively throughout the country to
                control dust on roadways, providing a direct source of environmental
                contamination.” 40
            •   NOAA: “PCBs were also sprayed on dirt roads to keep the dust down prior to
                knowing some of the unintended consequences from widespread use.” 41
            •   National Academy of Sciences, Engineering, Medicine evaluating road dust control
                techniques: “Significant environmental problems can arise from the use of waste oil
                products.” 42


36 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue. Palo
Alto, California. October 2017. Section 2.2.1, Figure 7. Samples of pipe sludge taken from locations across
the original building footprint, indicating that sump piping was throughout the building and extended to the
former Model Shop, which was where the Granger vapor degreaser is believed to have operated.
37 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue. Palo

Alto, California. October 2017. Section 2.2.1, Figure 8. Soil sampling for VOCs was focused within the
original building footprint, mostly in areas near and downslope of Granger’s plating sump, or in areas where
piping connected to the plating sump.
38 1962 Plot Plan (STAN0012477). See also Expert Opinion of Brian Magee.
39 Oregon Department of Environmental Quality. Fact Sheet: Sources of Polychlorinated

Biphenyls. https://www.oregon.gov/deq/FilterDocs/ph-SourcePCBs.pdf. Table 2. Accessed November 10,
2019.
40 EPA. EPA Bans PCB Manufacture; Phases Out Uses. April 19, 1979.

https://archive.epa.gov/epa/aboutepa/epa-bans-pcb-manufacture-phases-out-uses.html. Accessed
November 10, 2019.
41 https://oceanservice.noaa.gov/facts/pcbs.html
42 National Academy of Science, Engineering, Medicine. “Road dust control techniques: evaluation of

chemical dust suppressants' performance” Transportation Research Board. 1996.
https://trid.trb.org/view/1205322. Accessed November 10, 2019.




                                                                                        Expert Report | ROUX | 8
       Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 13 of 45




While it is undocumented what was the source of oil used for oil-screening at this Site, it is clear
from the quotes above that the use of PCB-containing oils used for dust suppression was
widespread. Given the time period of Granger’s operations and the large volumes of PCB
containing oils Granger used in the manufacturing operations, as described in Opinion 4, it is
reasonably expected that, as a generator of used oil, 43 Granger would have had a supply of used
transformer oil that would have been valuable for recycling in just such an application. While “[u]sed
oil management practices of the late 1960s and early 1970s were criticized as being wasteful of a
valuable resource and harmful to the environment,” 44 “oiling roads with used oil to suppress dust
was considered more desirable than pure dumping or land disposal.” 45 In addition to dust
suppression, another known use for used oil during that time period was as a weed killer. 46 While
it is undocumented what Granger used for weed suppression at the Site, any use of used
transformer oil for weed suppression would have also contributed PCBs to the soils to which it was
applied.

Once EPA recognized the significant risks to human health and the environments from the direct
application of used oil to soils, EPA's Used Oil Management Standards banned such recycling
options. 47 In 1985, EPA proposed to ban the use of used oil as a dust suppressant, and finalized
the ban of all used oils for road or land application in 1992 48 – but this was after Granger’s period
of operations at the Site.

Consistent with Granger’s expected use of used transformer oil containing PCBs for dust
suppression of the oil-screened road, soil contamination at site includes both PCBs and several
volatile organic compounds associated with chlorobenzenes that is indicative of Grangers use of
askarel transformer oils, and that Granger is a source of PCB contamination to site soils based on
their expected use of askarel transformer oil for dust and weed suppressions.


Granger’s Soil Movement Spread PCB Soil Contamination

Site documents indicate, during the period of on-site manufacturing operations, Granger moved
soil around the parcel as part of the building expansion and redevelopment of the facility, most
specifically during its 1965 significant grading and paving operations associated with construction
of parking areas and what has been referred to as temporary storage shed built in the location of
Granger chemical storage area. 49 As set forth in the Expert Report of Brian Magee, any PCB
impacted soil from transformer research, development, and manufacturing operations and/or direct
land application of oil as a dust and weed suppressant that occurred prior to this redevelopment


43 EPA. Composition and Management of Used Oil Generated in the United States. September 1984. Page
2-4.
44 EPA. Composition and Management of Used Oil Generated in the United States. September 1984. Page

1-1.
45 EPA. Composition and Management of Used Oil Generated in the United States. September 1984. Page

1-1.
46 EPA. Managing Used Motor Oil. Environmental Regulations and Technology. December 1944. Page 22.
47 EPA. Managing Used Motor Oil. Environmental Regulations and Technology. December 1944. Page 22.
48 EPA. Recycled Used Oil Management Standards. 57 FR 41566. September 10, 1992.

https://archive.epa.gov/epawaste/hazard/web/pdf/57fr41566.pdf.
49 Expert Report of Brian Magee. December 9, 2019. The Board of Trustees of the Leland Stanford Junior

University vs.Agilent Technologies, Inc., and HP Inc. Case No. 3:18-CV-01199 VC.




                                                                                   Expert Report | ROUX | 9
        Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 14 of 45



would have been spread throughout a large segment of the parcel and is generally concurrent with
where PCB soil contamination was discovered. 50

Consistent with Granger’s movement of PCB impacted soil during their redevelopment and
expansion of the facility, PCBs have been observed in numerous locations on the parcel where
there was not transformer oil operations or expected direct land application of PCB oil, but where
Site soil was moved from areas near transformer oil operations or direct land application of PCB
oil. Thus, it is reasonable to conclude that the PCB soil impacts at locations not proximal to
Granger’s transformer oil operations or direct land application of oil are the result of the extensive
soil movement undertaken by Granger, and that Granger’s operations and redevelopment resulted
in PCB contamination across the site.


OPINION 3: Granger released TCE to the soil below the facility as a result
of its facility operations.
As addressed in Opinion 1, Granger’s site operations extensively utilized TCE in degreasing the
parts manufactured at the facility. Granger utilized a vapor degreaser in its Site operations 51 and
TCE was found within Granger’s waste handling system (piping and plating sump). 52 Based on the
locations of TCE contamination observed in the soil below the facility, Granger’s operations must
have also released TCE into soil.
Review of plumbing plans from the 1962 construction of the “Phase I” (north/front) portion of the
original site building show the location of the plating sump 53 and related drain piping. 54 The plans
show that subslab (underground) piping connected floor drains in the plating room to the plating
sump via polypropylene piping. The subslab sewer drain piping then drained southeastward to
connect with a main cast iron sewer line running northeasterly out under the front of the building,
with laterals from the paint room, floor drains in the main room, and other areas joining that sewer
line further down-pipe. Additional subslab wastewater drain networks were located to the southeast,
connected to floor drains in the main room and other facilities on the east end of the building.
In addition, the northeasterly-running cast iron sewer line draining the plating sump also captured
a lateral with floor drains draining northwesterly from along the south (“rear”) wall of the main room.
While not shown on the 1962 plumbing plans, later documents indicate that the Model Shop room
(the location of the vapor degreaser) was serviced by this lateral. 55



50 Expert Report of Brian Magee. December 9, 2019. The Board of Trustees of the Leland Stanford Junior
University vs.Agilent Technologies, Inc., and HP Inc. Case No. 3:18-CV-01199 VC.
51 Third Party Defendant Nokia of America Corporation’s Responses to Request for Admission (Set 1) from

Agilent Technologies, Inc. and HP Inc. United States District Court. Northern District of California, San
Francisco Division. 3:18-CV-01199 VC. August 28, 2019. Page 13.
52 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue. Palo

Alto, California. October 2017. Section 2.2.1, Figure 7. Samples of pipe sludge taken from locations across
the original building footprint, indicating that sump piping was throughout the building and extended to the
former Model Shop, which was where the Granger vapor degreaser is believed to have operated.
53 Note: the sump was located in the fallout shelter/storage room in the southwest corner of the building, on

the south side of the wall between the fallout shelter and the plating room - not in the plating room.
54 Birge M. Clark, Walter Stromquist, David F. Potter, Joseph Ehrlich Architects. Plumbing Floor Plan-125’-

0” Level, Granger Associates Building Unit No. 1, Sheet P-2, dated 4/13/62. (STAN0129195)
55 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue. Palo

Alto, California. October 2017




                                                                                        Expert Report | ROUX | 10
       Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 15 of 45



Granger was the sole user of solvents in the plating sump and associated subslab drain pipe
system. 56 In fact, the plating sump was only “rediscovered” by HP beneath linoleum flooring in
1990, where it was observed to contain only residual liquid and cobwebs. 57 While there were other
sumps in the building and unrelated to Granger’s plating sump, as referenced by Lloyd Coleman
and Diane Grisell/Dean Balco, those were used only for water quenching or had metal covers
placed over them. 58        Nonetheless, HP investigated the plating sump and ultimately
decommissioned it, receiving a No Further Action for the closure activities on May 26, 1998. 59
Documents related to the closure process state that HP had not been aware of the plating sump
prior to its discovery beneath the linoleum, and had not utilized it at any point during their occupancy
of the site.
In addition to Granger’s waste handling system, according to the Historical Site Features Figure of
the PEA, the initial location of the chemical storage area for the Granger facility was immediately
adjacent to the southeast corner of the Phase I building. 60 According to the text of the PEA, this
area was part of the area in which a covered structure was built by Granger in approximately
1965. 61 The details of the layout of the chemical storage area during Granger’s site operations are
not known, and the chemical storage area is not shown on the original 1962 construction plans for
the facility. 62
During the sampling for the Site’s Preliminary Endangerment Assessment (PEA) report, 63 TCE was
widely detected in soil samples collected from soil borings within the original building (Phase I
Building) footprint, with detections in most of those cases down to the total depth sampled (mostly
35 feet bgs).
The PEA described the distribution of TCE in soil as follows:
        “TCE was detected in at least one soil sample at 14 of the 23 soil borings, and TCE
        concentrations in soil boring samples correspond to areas where TCE was detected
        in soil vapor (Figure 8):
            •   TCE was detected more frequently and at higher concentrations in deeper
                soil samples than shallow soil samples indicating that TCE-related impacts
                are more widely distributed at depth.
                    o   In the vicinity of the former plating sump, …TCE was detected in soil
                        at concentrations of 200 and 640 µg/kg at depths of 30 and 35 feet
                        bgs; these TCE concentrations were the highest observed in soil
                        samples collected at the Site.


56 Environ. Underground Sump Closure Report. Hewlett-Packard Company 1601 California Avenue, Palo
Alto, California. June 14, 1991. (STAN0010259)
57 Environ. Underground Sump Closure Report. Hewlett-Packard Company 1601 California Avenue, Palo

Alto, California. June 14, 1991. (STAN0010259)
58 HP. Sump History. Interviews of Scientific Instrument Division. September 17, 1990. (AGIL0000218)
59 SFRWQCB. No Further Action. 1601 California Avenue, Palo Alto, Santa Clara County. May 26, 1998.

(AGIL0000139)
60 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue. Palo

Alto, California. October 2017. Figure 3.
61 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue. Palo

Alto, California. October 2017. Pg 3. Although there are references to the structure being built in 1968,
documents produced by Stanford confirm that the structure was built by Granger sometime around 1965.
6262 HP also used that location for chemical storage until they constructed a new chemical storage area in

or around 1985, but HP has documented that there were no spills or leaks during its use of that area.
63 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue. Palo

Alto, California. October 2017.



                                                                                      Expert Report | ROUX | 11
       Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 16 of 45




           •   TCE was detected in every depth sampled at borings…located at the former
               plating sump or former chemical storage area, where relatively coarser-
               grained soil was observed. The detection of TCE in soil throughout the soil
               column in these areas may indicate the source of TCE in the subsurface may
               be associated with these previous features and/or Site use. It also is possible
               that the relatively low concentrations of TCE detected in soil could represent
               TCE in equilibrium with the vapor phase at these locations.
                   o   At the former plating sump and associated subsurface process water
                       lines, the highest concentrations of TCE in shallow samples (about 5
                       feet bgs) were observed…
                   o   At the former chemical storage area, TCE was detected in one
                       shallow soil sample (about 5 feet bgs)…
           •   TCE was detected at depths greater than 20 feet bgs at 14 soil borings. The
               highest observed concentrations of TCE in soil samples collected at the Site
               were collected at depths of 25 to 35 feet bgs.
                   o   As described above, the highest TCE concentrations detected in soil
                       were at locations…advanced in the vicinity of the former plating
                       sump.
                   o   Approximately 250 feet northeast of the former plating sump, …TCE
                       was detected at a concentration of 180 µg/kg at 25 feet bgs. At this
                       boring, concentrations of TCE attenuated toward the surface, and
                       TCE was not detected at 5 feet bgs.”
Thus, the plating sump and associated subslab drain pipe system has been well-documented as
the most likely site source of TCE in the subsurface of the Site. The conceptual site model (CSM)
in the PEA 64 provided an overview of the implications of all investigation findings, including a
summary of what the distribution of VOCs in the subsurface indicated was the likeliest source for
those VOCs. Based on that, the CSM stated:
       “…the plating sump appears to be a primary source of TCE in soil vapor. In addition
       to this source area, the former chemical storage area may be an additional source
       area. However, there is no documentation of chemical releases from the chemical
       storage area, located immediately south of the Phase I building.” 65
Thus, Granger’s operations involving TCE are clearly connected with the TCE soil contamination
at the Site through releases from the sump and subslab piping system.



OPINION 4: During HP/Agilent ‘s lease period, 1970-2005, they did not use
PCBs and used TCE for only a short period (1971-1977), and neither




64 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue. Palo
Alto, California. October 2017.
65 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue. Palo

Alto, California. October 2017.Sections 8.1 and 8.2, pg 32-33.




                                                                                   Expert Report | ROUX | 12
       Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 17 of 45




accounts for a material portion, if any, of PCB or TCE conditions found at
the Site.
Both HP and Agilent used the facility for “manufacture, assembly, and calibration of electronic
analytical instruments.” 66 For example, Geomatrix reported that Agilent “performed research and
development for the manufacture of gas chromatograph/mass spectrometry (GC/MS) and liquid
chromatography equipment.” 67

During the period of HP’s operations, Stanford owned the property at 1601 California Avenue in
Palo Alto, California. HP subleased the Property from Granger in 1970 68 and was assigned the
lease by Elwood Hayes in 1983. 69 During the period of Agilent’s operations, Stanford owned the
property at 1601 California Avenue in Palo Alto, California. HP assigned the lease to Agilent at the
end of 1999. 70 Agilent vacated the building in December 2002 71 and ceased operations at the
facility in early 2003. 72 Agilent agreed to terminate the lease, through an Option and Purchase
Agreement with Stanford, which closed at the end of 2005. 73

In 1990, HP reported the chemical use history of its operations to the California Regional Water
Quality Control Board. 74 This chemical use history did not list PCBs as being used at anytime. The
chemical use history did report the use of TCE in the time frame of 1971 to 1977, estimated at 400
gallons per year. No TCE is listed in the chemical use history after 1977, as HP began using
alternative solvents to TCE.

PCB Use in HP/Agilent Operations
Neither HP nor Agilent has documented PCB use related to their facility operations in the design,
manufacture, assembly, and calibration of electronic analytical instruments. Based on the types of
activities performed in the design, manufacture, assembly, and calibration of electronic analytical
instruments, it is not expected that PCBs would have been part of those manufacturing processes.

Similar to Granger, HP/Agilent utilized a city transformer for managing the facility’s electrical
voltage. According to site maps, the transformer owned and operated by the City of Palo Alto was
located on the southwest side of Building I within or near the Annex. There are no reports of
releases from the city transformer. Fluorescent light ballasts had been in the facility, but they are
primarily a potential indoor air hazard and contain a relatively trivial amount of PCBs. 75 Neither the

66 Haley Aldrich. Preliminary Endangerment Assessment. 1601 S. California Avenue, Palo Alto, California.

October 2017. Page 3.
67 Geomatrix. Soil Vapor, Soil, and Groundwater Investigation Report. 1601 California Avenue, Palo Alto,

California. September 2004. Page 5. (STAN0003781)
68 Assignment of Sublease. May 1, 1970. (AGIL0022670)
69 Amendment, Assignment, Assumption and Consent to Assignment of Lease. February 11, 1983.

(STAN0018741)
70 Assignment of Lease. October 22, 1999 (AGIL0022740); Assignment and Assumption of Lease. August

26, 1999 (STAN0017817)
71 Geomatrix. Soil Vapor, Soil, and Groundwater Investigation Report. 1601 California Avenue, Palo Alto,

California. September 2004. Page 4. (STAN0003780)
72 ERM. Post-Closure Report. Building B-17 1601 California Avenue, Palo Alto, California. July 2004. Page

1. (AGIL007401)
73 Option and Purchase Agreement. May 20, 2004. (STAN0018773)
74 HP. Request for Chemical Use History for 1601 California Avenue, Palo Alto, Building 17. January 12,

1990. (AGIL0007095)
75 EPA. Proper Maintenance, Removal, and Disposal of PCB-Containing Fluorescent Light Ballasts.

https://www.epa.gov/sites/production/files/documents/PCBsInBallasts.pdf. Accessed November 26, 2019.




                                                                                     Expert Report | ROUX | 13
       Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 18 of 45



city transformer nor the light ballasts area reasonably expected to be a source of PCBs to the
observed PCB soil contamination throughout the Site.

Soon after HP/Agilent leased the property, PCB use was greatly curtailed and ultimately banned in
1979. “In 1971 Monsanto voluntarily restricted manufacturing of PCBs to use only in closed
systems. Monsanto discontinued manufacture of PCBs in 1977, though PCBs continued to be
imported into the U.S. until 1979 when the U.S. ban took effect.” 76

Thus, the lack of PCB use in manufacturing operations, the expected trivial ancillary use of PCBs
at the facility in light ballasts, and the curtailing and banning of PCB use in the early years of
HP/Agilent operations on Site, indicates HP/Agilent operations was not a contributing source of
PCBs to site soil contamination.

TCE Use in HP/Agilent Operations

As discussed above, TCE was used by HP from 1971-1977. 77 HP considered its operations to be
a “small generator of hazardous wastes.” 78 Also, “[b]ased on employee interviews, document
research and handling practices, no known releases or spills of chemicals into the ground occurred
since HP has occupied the facility” 79 Nor is there any evidence of such releases or spills.

During the limited time HP used TCE, chemical storage was in the same location that Granger used
for chemical storage, “in cabinets under a metal roof enclosure next to the main building.” 80 HP
reported that during this time, “hazardous wastes were collected in a 250-gallon above ground tank
next to the back of the main building and shipped off-site for disposal.” 81 In 1985, as part of the
Building 17 expansion, a new chemical storage building was constructed on-site. 82

Thus, while HP handled and disposed of TCE as part of its early site operations, there is not a clear
release mechanism for the TCE used by HP to have been released to the underlying soil: no
operational process releases, no reported spills, no indication improper waste disposal. Only the
TCE soil contamination in the vicinity of the original chemical storage area used by HP, originally
used by Granger also, matches an area where HP’s TCE handling was known. Nonetheless, there
is no basis to suggest that HP’s operations on the site contributed to TCE soil contamination since
there is no evidence of any spill or release during HP’s time on the site, and alternatively, Stanford’s
consultant concluded that the sump was the primary site source of TCE. 83



76 https://www.oregon.gov/deq/FilterDocs/ph-SourcePCBs.pdf. Accessed November 10, 2019.
77 HP. Request for Chemical Use History for 1601 California Avenue, Palo Alto, Building 17. January 12,
1990. (AGIL0007095)
78 HP. Request for Chemical Use History for 1601 California Avenue, Palo Alto, Building 17. January 12,

1990. Page 4 (AGIL0007098)
79 HP. Request for Chemical Use History for 1601 California Avenue, Palo Alto, Building 17. January 12,

1990. Page 4 (AGIL0007098)
80 HP. Request for Chemical Use History for 1601 California Avenue, Palo Alto, Building 17. January 12,

1990. Page 3 (AGIL0007097)
81 HP. Request for Chemical Use History for 1601 California Avenue, Palo Alto, Building 17. January 12,

1990. Page 3 (AGIL0007097)
82 HP. Request for Chemical Use History for 1601 California Avenue, Palo Alto, Building 17. January 12,

1990. Page 3 (AGIL0007097)
83 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue. Palo

Alto, California. October 2017.Sections 8.1 and 8.2, pg 32-33.




                                                                                    Expert Report | ROUX | 14
         Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 19 of 45




OPINION 5: HP/Agilent did not cause significant expansions of PCBs
impacts at the site Both HP
As discussed in Opinion 4, given the lack of any PCB handing by HP in its manufacture, assembly,
and calibration of electronic analytical instruments and trivial ancillary PCB presence at the facility
in the city transformer and light ballasts, HP/Agilent did not make a direct contribution to PCB
contamination in Site soil.
In fact, soon after HP/Agilent leased the property, PCB use was greatly curtailed and ultimately
banned in 1979. “In 1971 Monsanto voluntarily restricted manufacturing of PCBs to use only in
closed systems. Monsanto discontinued manufacture of PCBs in 1977, though PCBs continued to
be imported into the U.S. until 1979 when the U.S. ban took effect.” 84
As set forth in the Expert Report of Brian Magee, while HP’s facility redevelopment required
excavation of soil from an embankment on the site and rough, superficial grading after the concrete
and other improvements made by Granger were demolished, it was not necessary for HP to
conduct significant soil movement across any areas of the Site because Granger had effectively
graded the entire footprint of what would become Building 17 and its surrounding improvements.
Therefore, any soil movement performed by HP during its redevelopment did not significantly
redistribute PCB-contaminated soils. Moreover, any soil HP may have moved was generally the
same footprint that has been previously moved by Granger in previous facility modifications. 85 In
other words, any movement of PCB soils that may have occurred simply would have moved them
to areas in which PCB soils were already present as a result of Granger’s prior excavation, grading,
and paving in the 1960s. Therefore, HP’s soil movement related to its facility redevelopment did
not result in a material geographic expansion of PCB soil contamination at the site.


OPINION 6: HP/Agilent’s environmental impacts from use of TCE in their
operations are reasonably expected to be insignificant.
While HP reported that it utilized TCE in its operations from 1971-1977, 86 there is no evidence of
any releases from HP operations during that time period. As addressed in Opinion 6, the primary
source of TCE in the subsurface soil is well-documented to be the plating sump 87 and associated

84 https://www.oregon.gov/deq/FilterDocs/ph-SourcePCBs.pdf. Accessed November 10, 2019.
85 Expert Report of Brian Magee. December 9, 2019. The Board of Trustees of the Leland Stanford Junior
University vs.Agilent Technologies, Inc., and HP Inc. Case No. 3:18-CV-01199 VC.
86 HP. Request for Chemical Use History for 1601 California Avenue, Palo Alto, Building 17. January 12,

1990. (AGIL0007095)
87
  The documentary record for this site includes references to several sumps, references to which are frequently non-specific and
confusing. Sumps have been identified at this Site as follows:
    1. The sump of primary interest is the plating sump or dilution tank. Located adjacent to Granger’s plating room in the
         fallout shelter in northwest corner of the original (Phase I) building, this feature is the sump discovered beneath
         linoleum by HP and subsequently decommissioned in 1991, as reported by ENVIRON, with regulatory closure received
         in 1998. The PEA indicates that the plating sump and associated piping are the primary source of TCE in the subsurface
         at the Site.
    2. Four subgrade containment sumps were part of the stand-alone chemical storage located east of the building and
         constructed by HP in the mid-eighties. These are the sumps that the PEA specifically indicates were not an apparent
         source of TCE impacts.
    3. The history of any sump or sumps at the original chemical storage area at the rear of the Phase I building is less clear.
         While specific details are very limited regarding the configuration of this area during Granger’s tenancy, what




                                                                                                       Expert Report | ROUX | 15
          Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 20 of 45



subslab piping, utilized solely by Granger. HP had not been aware of the plating sump prior to its
discovery beneath the floor, and had not utilized it at any point during their occupancy of the site. 88
HP did not dispose of its liquid waste in sumps like Granger, but instead “hazardous wastes were
collected in a 250-gallon above ground tank next to the back of the main building and shipped off-
site for disposal.” 89 Instead of the using the wastewater piping system plumbed through the plating
sump as Granger had done, HP had an above-grade process wastewater system within the building
and double contained piping underground. A 1990 letter from HP to the Water Board describes this
system at that time, stating that “Process waste water from fume hoods and laboratory sinks are
pumped to holding tanks in the chemical storage building for testing prior to disposal into the City
sewer system. The process waste water pipe is double contained and runs underground beneath


          information is available appears to indicate that secondary containment or similar sumps were not present at that time
          in that area. During HP’s use of that area, prior to the construction of the stand-alone chemical storage building to the
          east of the main building in the mid-eighties, some secondary containment features, including drain trenches and one
          or more sumps, were apparently in use. A hand drawn figure showing the layout of chemical storage in that area is
          available; a sump or sumps are shown on the periphery of that drawing.
     4.   A July 2004 Phase I Environmental Site Assessment (ESA) report conducted by Geomatrix on behalf of Stanford includes
          notes regarding a “possible sump area” located “between the newer and older buildings”, apparently on the west side
          of the building in close proximity to the location of the electrical transformer. This feature is shown on Figure 3 and in
          the photo log of the 2004 Phase I ESA report, but is not discussed in the text of that report. The photos show a metal
          grate apparently covering a subgrade feature immediately adjacent to the rear of the transformer. As the Report and
          subsequent investigations make no additional reference to this feature, and given its proximity to the transformer, it
          does not appear that this feature was a sump for managing liquids, but instead may have been a utility vault related to
          site electrical infrastructure.
     5.   The July 2004 Phase I ESA report photo log also includes a photo of a “Process Waste Water Pump Vault on the west
          side of the newer building”. This feature is also not discussed in the text of that report. The HP-17 Site Utilities Plan
          attached to the 2017 PEA shows a “Pressure Reducing Valve in Vault” at the southwest corner of the newer portion of
          the building, adjacent to the cafeteria, in an area where several utility lines converge. The function of this valve/vault is
          not known. However, as the Phase I ESA Report and subsequent investigations including the PEA make no additional
          reference to any process wastewater management features in this area, and the utility plan shows no evidence of this
          vault being plumbed to the chemical storage shed (as other process wastewater pipes were within the older part of the
          building), it is not clear that this vault was in fact part of the process wastewater system. In any case, as subsequent
          investigations did not focus on this feature, it does not appear that this vault was of ongoing environmental concern.
     6.   Interviews conducted on September 17, 1990 with former HP Materials and Shipping Manager Lloyd Coleman and
          Welders Diane Grisell and Dean Balco also include reference to sumps. The descriptions are unclear as to whether one
          or more sumps are being discussed in the interviews. The Coleman interview makes note of a sump located in a
          shipping room that was treated for mosquito abatement around 1980-1981. The interview also notes that Mr. Coleman
          recollected that when HP first occupied the site in 1971, there were redwood planks over a sump located in the floor of
          the Weld Shop, with HP subsequently replacing the planks with metal grating, using the sump to quench hot metal
          parts in water. The Welders also referenced quenching hot parts in a system that “drained into the floor drains which
          lead into the sump on the other side of the wall.” It is not clear from the descriptions if the weld shop quenching sump,
          the sump that was covered with redwood planks, and the sump in the shipping room which was treated for mosquitoes
          are the same sump. Regardless, it seems that the sumps referenced in the interviews were obviously known to HP,
          which according to the ENVIRON plating sump closure report was not the case for the plating sump/dilution tank that
          had just then been discovered in August of 1990 under linoleum in the Kitting Room. In any case, none of these sumps
          (including the plating sump) were ever utilized by HP for managing solvent-containing wastewater.
     7.   Various other features at the site were also intermittently referred to as sumps, including assorted subgrade utility and
          pump vaults, and piping and other equipment related to the historic diesel and fire water storage tanks located west of
          the Phase I building. Features such as these are not of ongoing environmental concern, but references to them can be
          confounding in review of the documentary record.

88 Environ. Underground Sump Closure Report. Hewlett-Packard Company 1601 California Avenue, Palo
Alto, California. June 14, 1991. (STAN0010259)
89 HP. Request for Chemical Use History for 1601 California Avenue, Palo Alto, Building 17. January 12,

1990. (AGIL0007095)




                                                                                                             Expert Report | ROUX | 16
         Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 21 of 45



the shipping service yard. The process waste water is mostly detergent and water from cleaning
and rinsing operations. This process waste water testing system was installed to prevent
discharges of accidental spills of solvents or acids into the City sewer system.” 90
HP’s Site Utilities Plan in Appendix A of the PEA shows the location of the piping for HP’s process
wastewater piping system. 91 Since HP did not use Granger’s sump or subgrade piping system, and
there is no record that HP installed new subgrade waste in the facility, HP appears to have handled
its solvent waste generation above grade within the building. The HP wastewater piping system
extended southeasterly from process wastewater pumps located inside the east and west ends of
the Phase I site building to pipes running across the rear (south) of that building, exiting the building
at the southeast corner. According to a 1987 Site Utilities Plan, outside the building the pipes
continued to the southeast, and in concordance with the 1990 letter were noted as underground
and double-contained, extending to process wastewater tanks located inside the south end of the
chemical storage building to the southeast. Inside the building, the HP Site Utilities Plan does not
explicitly note the process wastewater pipes are above grade, however, the process wastewater
pumps are not noted as being in vaults, as a noted for other utilities (gas, water). Thus, the lack of
any indication that the wastewater piping is below grade on the utility plan (intended to mark such
utilities) indicates that the interior portions of the HP wastewater handling system would have been
located above the floor slab.
Prior to 1985, which included the 1971-77 interval during which HP used TCE, HP stored hazardous
chemicals and waste in the original hazardous materials storage area in same location used by
Granger, at the southeast corner of the original Phase I building. 92 While TCE was detected in the
subsurface in the vicinity of the original chemical storage area, the PEA suggests the TCE observed
in the vicinity could reasonably be expected to be the migration of TCE from the plating sump.
     •   “At the location of the former chemical storage area…TCE was detected at relatively high
         concentrations in soil vapor…The former chemical storage may represent a second source
         area, or TCE may have migrated via preferential pathways from the former plating sump to
         this area.”93
In fact, the PEA states “there is no documentation of chemical releases from the chemical storage
area, located immediately south of the Phase I building” 94 and moreover, HP concluded that
“[b]ased on employee interviews, document research and handling practices, no known releases
or spills of chemicals into the ground occurred since HP has occupied the facility.” 95
While HP reported that “Prior to the construction of the…[stand-alone] chemical storage building
[to the east], fuel oils, thinners, Freon 113, 1,1,1-trichloroethane, laboratory chemicals and
compressed gas cylinders were stored on racks or in cabinets under a metal roof enclosure next



90 HP. Request for Chemical Use History for 1601 California Avenue, Palo Alto, Building 17. January 12,
1990. (AGIL0007095)
91 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue. Palo

Alto, California. October 2017. Appendix A, Historical Documents, “HP-17 Site Utilities Plan”
92 HP. Request for Chemical Use History for 1601 California Avenue, Palo Alto, Building 17. January 12,

1990. (AGIL0007095)
93 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue. Palo

Alto, California. October 2017.
94 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue. Palo

Alto, California. October 2017.Sections 8.1 and 8.2, pg 32-33.
95 HP. Request for Chemical Use History for 1601 California Avenue, Palo Alto, Building 17. January 12,

1990. Page 4 (AGIL0007098)




                                                                                    Expert Report | ROUX | 17
         Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 22 of 45



to the main building,” 96 these other chemicals stored by HP were not observed in soil samples, 97
and were only intermittently detected in soil vapor. 98 While acetone, TCA, and Freon 113 were
detected in soil gas in the vicinity of the original chemical storage area, they were discovered at
very low concentrations, such that none of the detections of these compounds in soil vapor were
above screening criteria, or above current Tier 1 (Residential) Environmental Screening Levels
(ESLs). Thus, it is not reasonable to assume HP released a significant amount of TCE in the vicinity
of the original chemical storage area, yet somehow avoided releasing significant quantities of any
of the other chemical that had been used in greater volumes per year and for longer durations. 99
HP constructed a stand-alone chemical storage building located east of the primary building in
approximately 1985. 100 From that time until HP/Agilent vacated the site, the process wastewater
system was plumbed to tanks with secondary containment sumps located at that chemical storage
building 101. Consistent with HP’s absence of TCE in the operations after 1977, the PEA explicitly
indicates that this chemical storage area located east of the Phase I building was confirmed not to
be a source of TCE.
     •   “In addition, it is important to note the location of four historical sumps in the Chemical
         Storage Building (located east of the Phase I building) were evaluated as a potential source
         area. TCE was not detected in shallow soil vapor samples collected at this area…These
         results, and the lack of observed impacts to shallow soil during the removal of the concrete
         slab at this area, indicate that a release is unlikely to have occurred from these sumps.” 102
The records of chemical storage and handling by HP/Agilent indicate that the impacts to the site
from the use of TCE, if any, are reasonably expected to be insignificant. Broadly, environmental
investigation findings did not indicate any TCE impacts in the subsurface in the areas primarily
utilized by HP/Agilent for chemical storage and handling, and risk assessments conducted for the
PEA indicated that most areas utilized by HP/Agilent did not specifically require remediation (with
the exception of the vicinity of the original Granger chemical storage area formerly located at the
rear of the Phase I building). 103 Further, VOCs other than TCE, including 1,1,1-trichloroethane
(TCA) and other compounds which were utilized in greater quantities and for a longer period of
time by HP/Agilent, were not detected in site soils above screening criteria, indicating that VOC



96 HP. Request for Chemical Use History for 1601 California Avenue, Palo Alto, Building 17. January 12,
1990. (AGIL0007095)
97 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue. Palo

Alto, California. October 2017. Soil Summary
98 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue. Palo

Alto, California. October 2017. Soil Gas Summary.
99HP. Request for Chemical Use History for 1601 California Avenue, Palo Alto, Building 17. January 12,

1990. Page 4 (AGIL0007098) Acetone: 400+ gal/yr, 1971-1989; Isopropanol (IPA): 300+ gal/yr, 1971-1989
(Note that IPA was also used as “solder/flux thinner”, and inventoried separately from 1978-1989; 100+
gal/yr or less); Methanol: 200 gal/yr, 1971-1984; <30 gal/yr, 1985-1989; TCE: 400 gal/yr, 1971-1977. PCE:
200 gal/yr, 1978-1979); TCA: 400 gal/yr, 1980-1989; Freon 113: 200 gal/yr, 1978-1979; >400 gal/yr, 1980-
1989.
100 HP. Request for Chemical Use History for 1601 California Avenue, Palo Alto, Building 17. January 12,

1990. (AGIL0007095)
101 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue.

Palo Alto, California. October 2017.
102 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue.

Palo Alto, California. October 2017. Section 8.1 pg 32
103 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue.

Palo Alto, California. October 2017. Section 8.1 pg 29-31




                                                                                     Expert Report | ROUX | 18
       Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 23 of 45



impacts in all areas, including in the area of the former chemical storage area, attributable to
Granger’s operations, rather than those of HP/Agilent.


OPINION 7: The PCB and TCE soil impacts are divisible between Granger
and HP/Agilent.
There is no evidence that supports the idea that HP/Agilent’s operations had any substantial
contribution to the PCB or TCE site contamination. Nonetheless, assuming for argument sake
scenarios that include some significant HP/Agilent’s contribution to Site contamination, divisibility
of the contamination among Granger and HP/Agilent is possible based on the geographic,
chemical, temporal, and/or volumetric characteristics associated with each of their shares of
contamination. It is important to note that the Supreme Court has established that the threshold for
divisibility is that it need not be precise, only that there are “facts contained in the record reasonably
support[ing] the apportionment of liability.” 104

I evaluated the divisibility of only PCB and TCE site impacts, since these are the only COC driving
any remedial action. Based on my evaluation, PCB and TCE contamination at the site is divisible,
and cannot under any plausible scenario be solely, or even substantially, attributed to HP/Agilent’s
operations from 1970 to 2005.


Divisibility of PCB Contamination relative to TCE Contamination
The chemical distinction between PCBs and TCE enable the geographic area of contamination for
PCBs and TCE to be readily bounded based on the Site Investigation data. Thus, the PCB and
TCE contamination are readily divisible based on the differing geographic extent shown in the
PEA. 105

Divisibility Between Granger and HP/Agilent of PCB Contamination

Virtually all the PCB contamination at the Site was characterized as Arochlor 1260. 106 Of the over
250 soils samples measured for PCBs, only 2 samples (both from Tree Root Zones), has detectable
levels of PCBs other than Aroclor 1260 (Aroclor 1254). All other PCB detections on Site were
Aroclor 1260. Over 50 samples were measured with Aroclor 1260 concentrations above the
Residential RSL, whereas only 2 samples were measured with Aroclor 1254 concentration above
the Residential RSL. Thus, greater than 95% of all the Site PCB contamination above Residential
RSLs is attributable to Aroclor 1260.
As discussed in Opinion 1, Granger used large volume of askarel transformer oils in its
manufacturing operations and devices, which contain Aroclor 1260. Beginning in 1932, the use of
askarels transformer oil was widespread through the use of General Electric Company product


104 BNSF, 129 S. Ct. 1870, 1881 (2009).
105 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue.
Palo Alto, California. October 2017. Figures 9, 10, 12
106 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue.

Palo Alto, California. October 2017. APPENDIX D. Tabulated Pre-Excavation Soil Sample Results – PCBs




                                                                                     Expert Report | ROUX | 19
       Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 24 of 45



Pyranol 1499, followed by Westinghouse's Inerteen in 1936. 107 Askarel liquid insulation is made by
thinning Aroclor 1260 with trichlorobenzene or tri, tetrachlorobenzene mix. 108 The composition of
askarel transformer oil is shown below in Table 10-1.




Table 7-1. Chemical composition of askarel transformer oil. 109


As shown above, several alterations of askarel transformer oil formulations were made in the
1940s. Tin tetraphenyl, phenoxy propene oxide, and a diepoxide were added as hydrogen chloride
scavengers. 110 The two commercial types of askarel transformer oil formulations when Granger
operated were General Electric 1s Transformer Pyranol Al3B3B type and Westinghouse Inerteen
PPO (7336-9) type. 111
As discussed in Opinion 4, there is no documented HP/Agilent PCB use related to their facility
operations. More so, prior to 1971, the Monsanto Chemical Company produced Aroclors 1221,
1232, 1242, 1248, 1254, 1260, 1262, and 1268; however, in 1971, the company voluntarily
restricted the uses of PCBs and subsequently produced only Aroclor 1016, 1242, 1254, and small
quantities of Aroclor 1221. 112 Therefore, Aroclor 1260 was not even available for use in
manufacturing operations during the time period of HP/Agilent Site operations. Furthermore, in

107 Oak Ridge National Laboratory. Development of a Portable Field Monitor for PCBs. Electric Power
Research Institute. January 1983. Page 1-1.
108 Oak Ridge National Laboratory. Development of a Portable Field Monitor for PCBs. Electric Power

Research Institute. January 1983. Page 1-2.
109 Oak Ridge National Laboratory. Development of a Portable Field Monitor for PCBs. Electric Power

Research Institute. January 1983. Table 1-1.
110 Oak Ridge National Laboratory. Development of a Portable Field Monitor for PCBs. Electric Power

Research Institute. January 1983. Page 1-2.
111 Oak Ridge National Laboratory. Development of a Portable Field Monitor for PCBs. Electric Power

Research Institute. January 1983. Page 1-2.
112 Agency for Toxic Substances and Disease Registry. Production, Import/Expert, Use, and Disposal. Pg

467-468.https://www.atsdr.cdc.gov/toxprofiles/tp17-c5.pdf




                                                                                    Expert Report | ROUX | 20
       Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 25 of 45



1978, EPA began to regulate the storage and disposal of all PCBs, 113 and by 1979 had banned
the manufacture of new any PCB electrical equipment. 114
Also, some of the ancillary uses of PCB-containing equipment/devices that could plausibly been
used by HP/Agilent, like fluorescent light ballasts or capacitors or vacuum pumps, would not have
contained PCBs with Aroclor 1260.




Table 7-2. Summary of Former End Uses for Various Aroclors 115
Thus, based on the chemical uniqueness of Aroclor 1260 used solely by Granger, 100% of the
Aroclor 1260 contamination is divisible to Granger – which is greater than 95% of all the PCB soil
contamination.
In addition to Aroclor 1260, there were two detection of Aroclor 1254 on the Site. 116 While these
detection were in the Tree Root Zone, PCB concentrations were above the remediation goal
established for the Site, the trees were designated for removal and appropriate disposal as part of




113 Agency for Toxic Substances and Disease Registry. Production, Import/Expert, Use, and Disposal. Pg

473.https://www.atsdr.cdc.gov/toxprofiles/tp17-c5.pdf
114 EPA. EPA Bans PCB Manufacture; Phase Out Uses. Press Release. April 19, 1979.

https://archive.epa.gov/epa/aboutepa/epa-bans-pcb-manufacture-phases-out-uses.html
115 Agency for Toxic Substances and Disease Registry. Production, Import/Expert, Use, and Disposal. Pg

467-468.https://www.atsdr.cdc.gov/toxprofiles/tp17-c5.pdf
116 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue.

Palo Alto, California. October 2017. Table D-4.




                                                                                    Expert Report | ROUX | 21
        Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 26 of 45



the soil removal program. 117 Thus, some soil removal was required as a result Aroclor 1254
contamination.

The source of Aroclor 1254 at the Site is unknown. The only direct connection with Site activities
to Aroclor 1254 is from the City of Palo Alto maintained a transformer (No. 4055). 118 This City owned
transformer was retrofitted by the City to non-askarel transformer oil 119 sometime prior to 1985.
Measurements of the mineral oil-based transformer oil detected low concentrations Aroclor 1254.
The Aroclor 1254 concentration in the transformer oil were at 190 ppm in 1984 and decreased to
16 ppm after the oil was changed out in 1985 120 - below the concentrations observed in the Tree
Root Zone. 121 There were no reports of releases of from the City maintained transformer.

As Table 7-2 shows, in addition to City’s transformer oil, there are numerous other end uses that
utilized Aroclor 1254. The end uses for Aroclor 1254 could have been part of Granger or HP
operations. Thus, the Aroclor 1254 contamination is not divisible between Granger and HP – or
other potential contributors of Aroclor 1254. Thus, there is no evidence that supports the idea that
HP/Agilent’s operations had any substantial contribution to the PCB site contamination.
Nonetheless, assuming scenarios where it is at least plausible that HP/Agilent’s contributed to Site
contamination, its contribution to PCB site contamination would be less than 5%.

The degree to which soil movement during redevelopment activities contributed to the expansion
of site PCB contamination is also divisible. As discussed in the Expert Report of Brian Magee,
Opinion 2 and Opinion 5, it was primarily Granger’s activities that moved soil to different parts of
the site. In contrast, the areas in which HP performed its redevelopment activities was within the
areas with soil that was likely previously contaminated with PCBs from Grangers operations, and
any soil that HP may have moved was generally within the same footprint that has been previously
moved by Granger in Granger’s previous facility modifications. Based on a temporal analysis of the
various phases of earthwork at the Site, HP’s earthwork did not contribute to a significant expansion
of the previous PCB contamination at the Site, and to the extent there may have been limited,
discrete area where HP moved contaminated soil to previously uncontaminated areas, those areas
are divisible from Granger’s prior and essentially site-wide expansion of PCB contaminated soils.


Divisibility Among Granger and HP/Agilent of TCE Contamination

Both Granger and HP used TCE in their Site operations, so the consideration of contributions to
Site TCE contamination includes both operators. In contrast to the PCB Site contamination, there
is no information that enables chemically distinguishing the TCE molecules released by Granger
from that of HP.



117 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue.
Palo Alto, California. October 2017. Page 24.
118 Third Party Defendant Nokia of America Corporation’s Responses to Request for Admission (Set 1)

from Agilent Technologies, Inc. and HP Inc. United States District Court. Northern District of California, San
Francisco Division. 3:18-CV-01199 VC. August 28, 2019. Page 11.
119 HP. Electrical Transformer memo. October 3, 1985. (AGIL0007048)
120 HP. Electrical Transformer memo. October 3, 1985. (AGIL0007048)
121 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue.

Palo Alto, California. October 2017. Table D-4.



                                                                                         Expert Report | ROUX | 22
       Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 27 of 45



TCE site impacts are the result of the direct release of TCE to site soils. There are only two areas
that were identified as requiring remediation, the area in the vicinity of the plating sump/piping
system in the Phase I Building and the original chemical storage area. Redistribution of TCE
contaminated soil as part of site redevelopment activities did not result in any identified spread of
TCE contamination that required cleanup. These two areas of TCE contamination are
geographically divisible and, therefore, the contributors to each geographically distinct area can be
evaluated independently.
As discussed in Opinion 3 and 6, Granger was the only user of the plating sump/piping system in
the Phase I Building. Thus, based on the geographic uniqueness of Granger’s TCE operations
utilizing the plating sump/piping system, 100% of the TCE contamination in the Phase I Building
footprint is divisible to Granger.

Both Granger and HP used the original chemical storage area, so there is no geographic divisibility
for Granger’s and HP’s contribution to TCE contamination in the original storage area. Although,
there are some divisibility considerations based on reasonable surrogates of the volume
contributed.
    • While the PEA states “there is no documentation of chemical releases from the chemical
       storage area, located immediately south of the Phase I building”, 122 in fact, Granger never
       reported whether or not there was releases or spills in the original chemical storage area.
       Whereas, HP previously concluded that “[b]ased on employee interviews, document
       research and handling practices, no known releases or spills of chemicals into the ground
       occurred since HP has occupied the facility.” 123 Thus, the degree to which releases and
       spills occurred during Granger’s operations would increase the volume of Granger’s TCE
       contribution.
    • The PEA suggests that original chemical storage area is an extension of contamination from
       the sump/piping system, 124 which is 100% attributable to Granger sole operations of the
       sump/piping system. Thus, any volume contribution from the extension of contamination
       from the sump/piping system would increase the volume of Granger’s TCE contribution.
    • As discussed in Opinion 6, HP reported that other VOC chemicals were stored in the original
       chemical storage area, these chemicals were not observed in soil samples, 125 and were
       only intermittently detected in soil vapor at low concentrations. 126 Considering that it is not
       reasonable to assume HP released a significant amount of TCE in the vicinity of the original
       chemical storage area, yet avoided releasing significant quantities of any of the other
       chemical that had been used in greater volumes per year and for longer durations, 127 the
       volume of HP’s TCE contribution in the original storage area was likely not significant.

122 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue.
Palo Alto, California. October 2017.Sections 8.1 and 8.2, pg 32-33.
123 HP. Request for Chemical Use History for 1601 California Avenue, Palo Alto, Building 17. January 12,

1990. Page 4 (AGIL0007098)
124 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue.

Palo Alto, California. October 2017.
125 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue.

Palo Alto, California. October 2017. Soil Summary
126 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue.

Palo Alto, California. October 2017. Soil Gas Summary.
127HP. Request for Chemical Use History for 1601 California Avenue, Palo Alto, Building 17. January 12,

1990. Page 4 (AGIL0007098) Acetone: 400+ gal/yr, 1971-1989; Isopropanol (IPA): 300+ gal/yr, 1971-1989




                                                                                    Expert Report | ROUX | 23
       Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 28 of 45




While a precise calculation of the volume of TCE contributed by Granger and HP is not possible,
the facts above reasonably support the divisibility of TCE contribution in the original chemical
storage area, such that there is a significantly larger volume contribution of TCE from Granger’s
operations than from HP’s operations.


OPINION 8: Given the divisibility of the contamination between Granger
and HP/Agilent, the average apportionment of contamination between
Granger and HP/Agilent is approximately 94% for Granger (89%-98%) and
6% for HP/Agilent (2%-11%).
There is no evidence that supports the idea that HP/Agilent’s operations had any substantial
contribution to the PCB or TCE site contamination. Nonetheless, assuming scenarios where it is at
least plausible that HP/Agilent’s contributed to Site contamination, an apportionment among
Granger and HP/Agilent is possible based on the divisibility discussed in Opinion 7. Again, the
Supreme Court has established that divisibility and apportionment need not be precise, only that
there are “facts contained in the record reasonably support[ing] the apportionment of liability.” 128

In order to apportion among Granger and HP/Agilent, I apportioned only contributions to PCB and
TCE site impacts, since these are the only COC driving any remedial action. Based on the
geographic extent of PCB contamination compared to TCE contamination, 129 I apportioned 70%-
90% of the overall site impact to PCBs and 10%-30% of the overall site impact to TCE.


PCB Site Impact Apportionment

PCB site impacts are the combined result of the direct release of PCBs to site soils and the
redistribution of PCB contaminated soil as part of site redevelopment activities. Since the soil
redistribution would not have cause any harm without the initial release of PCBs into the soil, I
divided the 70%-90% of the overall PCB harm into a 50%-70% resulting from direct contribution
and 20% share resulting from soil redistribution.

The chemical divisibility of the direct PCB contamination, based on the virtually all PCB site
contamination being identified as Aroclor 1260, indicate the original source of the PCB soil
contamination at the site was from Granger’s use of askarel transformer oil, including land
application of such oils. The source of the relatively trivial amount of Aroclors 1254 detected in site
soil is unknown and there is no indication of Aroclor 1254 contribution of HP/Agilent. Assuming a
scenario where there is an HP/Agilent contribution to the Aroclor 1254 contamination, and the easily
established chemical divisibility, 95%-100% of the direct PCB contamination is apportioned to
Granger and 0%-5% is apportioned to HP/Agilent.



(Note that IPA was also used as “solder/flux thinner”, and inventoried separately from 1978-1989; 100+
gal/yr or less); Methanol: 200 gal/yr, 1971-1984; <30 gal/yr, 1985-1989; TCE: 400 gal/yr, 1971-1977. PCE:
200 gal/yr, 1978-1979); TCA: 400 gal/yr, 1980-1989; Freon 113: 200 gal/yr, 1978-1979; >400 gal/yr, 1980-
1989.
128 BNSF, 129 S. Ct. 1870, 1881 (2009).
129 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue.

Palo Alto, California. October 2017. Figures 9, 10, 12




                                                                                     Expert Report | ROUX | 24
       Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 29 of 45



The geographic divisibility of the redistribution of PCB contaminated soil as part of site
redevelopment activities, based on the analysis of geographic extent of Granger’s soil movement
and the limited subsequent geographic extent of any HP/Agilent soil movement as described in the
Expert Report of Brian Magee, 130 indicates Granger was the site operator who was primarily
responsible for the movement of soil that is reasonably expected have been contaminated with
PCBs from Granger’s site operations. While there is some uncertainty in the soil movement
reconstruction and how some of the soil with PCB contamination was moved to its current location,
based on this geographic divisibility, 80-90% of the redistribution of PCB contaminated soil is
apportioned to Granger and 10%-20% is apportioned to HP/Agilent.


TCE Site Impact Apportionment

TCE site impacts are the result of the direct release of TCE to site soils. Redistribution of TCE
contaminated soil as part of site redevelopment activities did not result in any identified spread of
TCE contamination which required cleanup. Therefore, the 10%-30% of the overall TCE harm
results from direct TCE contamination.

There are only two areas that were identified as requiring remediation, the area in the vicinity of the
sump/piping system and the original chemical storage area. Based on the figures in the PEA titled
“Maximum Detected TCE Concentrations In Soil Vapor Samples Within Proposed Future
Development” and “Soil Vapor Sample Locations With Estimated Risk Exceeding 1x10-6,” 131 the
geographic extent and magnitude of TCE contamination is greater in the sump/piping system area
compared to original chemical storage area. Thus, the direct TCE contamination can be split 70-
90% in the sump/piping system and 10%-30%% in the original chemical storage area.

Granger was the only user of the sump/piping system, therefore Granger is apportioned all of the
direct TCE contamination in that area. Both Granger and HP used the original chemical storage
area, but there is some uncertainty regarding whether the contamination in the original chemical
storage area is an extension of contamination from the sump/piping system 132 or a result of
releases in the storage area. If there was releases in the storage area, there is also some
uncertainty what the relative contribution is among Granger and HP – since based on the lack of
other VOC used by HP it is expected than any HP contribution would be minor. Assuming a
scenario where there is an HP/Agilent contribution to the TCE contamination in the original
chemical storage area, 50-80% of the TCE contaminated soil is apportioned to Granger and 20%-
50% is apportioned to HP/Agilent.




130 Expert Report of Brian Magee. December 9, 2019. The Board of Trustees of the Leland Stanford Junior

University vs.Agilent Technologies, Inc., and HP Inc. Case No. 3:18-CV-01199 VC.
131 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue.

Palo Alto, California. October 2017. Figures 9 & 12.
132 Haley & Aldrich, Inc. Report on Preliminary Endangerment Assessment. 1601 S. California Avenue.

Palo Alto, California. October 2017.



                                                                                   Expert Report | ROUX | 25
      Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 30 of 45




Apportionment Calculations

The range of apportionment factors described above were combined to calculate various
apportionment scenarios between Granger and HP/Agilent for the range of plausible contribution
scenarios described above.


                                    Granger                       HP/Agilent
                MAX                  97.8%                          11.0%
                MIN                  89.0%                           2.2%
            AVERAGE                  94.1%                           5.9%




                                                                           Expert Report | ROUX | 26
             Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 31 of 45



70% PCB/30% TCE – 70% TCE from Sump/Piping

Overall Impact                    50%                               20%                               21%                               9%
                                                                                                                         Operator Direct Contribution of
                     Operator Direct Contribution of                                     Operator Direct Contribution of TCE to Original Chemical Storage
PRPs                              PCBs                 Operator Redistribution of PCBs        TCE to Sump/Piping                       Area
Granger                          100%                               90%                              100%                              80%
HP/Agilent                         0%                               10%                               0%                               20%



                               Granger                         HP/Agilent
    Direction
  Contribution of
       PCBs                     50.0%                              0.0%
      Direct
  Contribution of
        TCE                     28.2%                              1.8%
 Redistribution of
       PCBs                     18.0%                             2.0%
      TOTAL                    96.20%                             3.80%                            100.0%

Overall Impact                    50%                               20%                               21%                               9%
                                                                                                                         Operator Direct Contribution of
                     Operator Direct Contribution of                                     Operator Direct Contribution of TCE to Original Chemical Storage
PRPs                              PCBs                 Operator Redistribution of PCBs        TCE to Sump/Piping                       Area
Granger                           95%                               80%                              100%                              50%
HP/Agilent                         5%                               20%                               0%                               50%



                               Granger                         HP/Agilent
    Direction
  Contribution of
       PCBs                     47.5%                              2.5%
      Direct
  Contribution of
        TCE                     25.5%                              4.5%
 Redistribution of
       PCBs                     16.0%                             4.0%
      TOTAL                    89.00%                            11.00%                            100.0%




                                                                                                                           Expert Report | ROUX | 27
             Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 32 of 45



90% PCB/10% TCE – 70% TCE from Sump/Piping

Overall Impact                    70%                               20%                               7%                                3%
                                                                                                                         Operator Direct Contribution of
                     Operator Direct Contribution of                                     Operator Direct Contribution of TCE to Original Chemical Storage
PRPs                              PCBs                 Operator Redistribution of PCBs        TCE to Sump/Piping                       Area
Granger                          100%                               90%                              100%                              80%
HP/Agilent                         0%                               10%                               0%                               20%



                               Granger                         HP/Agilent
    Direction
  Contribution of
       PCBs                     70.0%                              0.0%
      Direct
  Contribution of
        TCE                      9.4%                              0.6%
 Redistribution of
       PCBs                     18.0%                             2.0%
      TOTAL                    97.40%                             2.60%                            100.0%

Overall Impact                    70%                               20%                               7%                                3%
                                                                                                                         Operator Direct Contribution of
                     Operator Direct Contribution of                                     Operator Direct Contribution of TCE to Original Chemical Storage
PRPs                              PCBs                 Operator Redistribution of PCBs        TCE to Sump/Piping                       Area
Granger                           95%                               80%                              100%                              50%
HP/Agilent                         5%                               20%                               0%                               50%



                               Granger                         HP/Agilent
    Direction
  Contribution of
       PCBs                     66.5%                              3.5%
      Direct
  Contribution of
        TCE                      8.5%                              1.5%
 Redistribution of
       PCBs                     16.0%                             4.0%
      TOTAL                    91.00%                             9.00%                            100.0%




                                                                                                                           Expert Report | ROUX | 28
             Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 33 of 45



70% PCB/30% TCE – 90% TCE from Sump/Piping

Overall Impact                    50%                               20%                               27%                               3%
                                                                                                                         Operator Direct Contribution of
                     Operator Direct Contribution of                                     Operator Direct Contribution of TCE to Original Chemical Storage
PRPs                              PCBs                 Operator Redistribution of PCBs        TCE to Sump/Piping                       Area
Granger                          100%                               90%                              100%                              80%
HP/Agilent                         0%                               10%                               0%                               20%



                               Granger                         HP/Agilent
    Direction
  Contribution of
       PCBs                     50.0%                              0.0%
      Direct
  Contribution of
        TCE                     29.4%                              0.6%
 Redistribution of
       PCBs                     18.0%                              2.0%
      TOTAL                     97.4%                              2.6%                            100.0%

Overall Impact                    50%                               20%                               27%                               3%
                                                                                                                         Operator Direct Contribution of
                     Operator Direct Contribution of                                     Operator Direct Contribution of TCE to Original Chemical Storage
PRPs                              PCBs                 Operator Redistribution of PCBs        TCE to Sump/Piping                       Area
Granger                           95%                               80%                              100%                              50%
HP/Agilent                         5%                               20%                               0%                               50%



                               Granger                         HP/Agilent
    Direction
  Contribution of
       PCBs                     47.5%                              2.5%
      Direct
  Contribution of
        TCE                     28.5%                              1.5%
 Redistribution of
       PCBs                     16.0%                              4.0%
      TOTAL                     92.0%                              8.0%                            100.0%




                                                                                                                           Expert Report | ROUX | 29
             Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 34 of 45



90% PCB/10% TCE – 90% TCE from Sump/Piping

Overall Impact                    70%                               20%                               9%                                1%
                                                                                                                         Operator Direct Contribution of
                     Operator Direct Contribution of                                     Operator Direct Contribution of TCE to Original Chemical Storage
PRPs                              PCBs                 Operator Redistribution of PCBs        TCE to Sump/Piping                       Area
Granger                          100%                               90%                              100%                              80%
HP/Agilent                         0%                               10%                               0%                               20%



                               Granger                         HP/Agilent
    Direction
  Contribution of
       PCBs                     70.0%                              0.0%
      Direct
  Contribution of
        TCE                      9.8%                              0.2%
 Redistribution of
       PCBs                     18.0%                              2.0%
      TOTAL                     97.8%                              2.2%                            100.0%

Overall Impact                    70%                               20%                               9%                                1%
                                                                                                                         Operator Direct Contribution of
                     Operator Direct Contribution of                                     Operator Direct Contribution of TCE to Original Chemical Storage
PRPs                              PCBs                 Operator Redistribution of PCBs        TCE to Sump/Piping                       Area
Granger                           95%                               80%                              100%                              50%
HP/Agilent                         5%                               20%                               0%                               50%



                               Granger                         HP/Agilent
    Direction
  Contribution of
       PCBs                     66.5%                              3.5%
      Direct
  Contribution of
        TCE                      9.5%                              0.5%
 Redistribution of
       PCBs                     16.0%                              4.0%
      TOTAL                     92.0%                              8.0%                            100.0%




                                                                                                                           Expert Report | ROUX | 30
                   Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 35 of 45

                                                                                                  Adam H. Love, Ph.D.
PROFESSIONAL PROFILE
                                          Vice President/Principal Scientist, Litigation Practice Leader
       TECHNICAL SPECIALTIES                                                   EXPERIENCE SUMMARY
       Dr. Love leads Roux’s Litigation Practice Group and provides            20+     years     of    experience      in    environmental
       forensic litigation support and expert witness services to              science/engineering, use of forensic signatures to determine
       clients throughout the United States on environmental                   source and timing of contamination, and contaminant
       litigation, environmental insurance coverage, and toxic tort            assessment, transport and remediation.
       related matters. Dr. Love’s experience includes strategic and
       technical analysis and guidance regarding numerous complex              •     Roux Associates, Inc., Vice President, Litigation Practice
       groundwater, soil, sediment, soil vapor and air contaminated                  Group Leader 2016-Present; Principal Scientist, 2013-
       sites. He has also provided expert technical guidance for state               Present.
       legislative actions and federal advisory panels on a range of           •     Johnson Wright Inc., Principal Scientist, Environmental
       traditional and non-traditional environmental hazards. Dr.                    Forensics Practice Leader 2009-2013.
       Love’s expertise has been developed through a unique variety
       of University, Federal and post-academia work, including                •     Lawrence Livermore National Laboratory, Principal
       developing leading-edge methods for addressing forensic                       Investigator/Scientist, Forensic Science Center, 2002-
       questions related to weapons of mass destruction for the                      2009.
       Federal Government.                                                     •     California Department of Health Services – Drinking
       Dr. Love’s areas of expertise include:                                        Water Program/Technical Programs Branch, Standards
                                                                                     and Technology Unit Staff, 2000-2002.
       •   Environmental forensics (identifying sources and timing
           of chemical releases);                                              •     University of California, Berkeley, Graduate Student
                                                                                     Researcher/Instructor, 1996-2002.
       •   Chemical/isotopic fingerprinting;
                                                                               •     Franklin   &    Marshall    College,   Undergraduate
       •   Contaminant transport/fate in sediments, soils, water,                    Researcher/Laboratory Teaching Assistant, 1994-1996.
           groundwater, and air;
                                                                               EXAMPLE PROJECTS
       •   Divisibility and apportionment of contamination among               Sediment Contamination Reconstruction
           PRPs;                                                                Fox River Superfund Site, WI – Expert Witness. Prepared an
       •   Human (i.e. Toxic tort claims and Prop 65) and ecological            Expert Report evaluating the technical bases for a range
           exposure assessment;                                                 of methodologies used to allocate contribution of
                                                                                polychlorinated biphenyls (PCB) to contaminated
       •   Assessments of petroleum (crude oil, diesel, and gasoline),          sediments. Performed fate and transport analyses as the
           chlorinated and other solvents (PCE, TCE, TCA, 1,4-                  basis for allocation to estimate mass contributions from
           dioxane), pesticides, PCBs, PAHs, radionuclides,                     various PRPs.
           explosives and heavy metals;
                                                                                   Kalamazoo River Superfund Site, MI – Evaluated the annual
       •   Environmental site characterization and remediation; and,               total suspended solid (TSS) discharges from 14 facilities
                                                                                   to the Kalamazoo River sediments over the 25+ year
       •   Environmental data analysis.                                            relevant period of applicable discharges. Allocated TSS
       Dr. Love’s capabilities include the use of advanced models                  discharges to generator facility when secondary facility
       and analytic methods to understand and interpret                            was used for wastewater treatment. Evaluated changes in
       contaminant characterization, transport, and fate for a range               facility TSS treatment efficiency and relative TSS
       of applications. By employing multiple lines of scientific                  contributions throughout the relevant period.
       evidence through analyses that couple field measurements,                   Passaic River (Diamond Alkali) Superfund Site, NJ – Expert
       fate    and     transport    calculations,     and  historical              Witness. Evaluated available historical data, performed fate
       operations/documents, he provides internally consistent                     and transport analyses, and developed a detailed
       opinions and results. Dr. Love is experienced at creating and               understanding of facility operations to support the facility
       evaluating Site Conceptual Models based on an understanding                 designation of de minimis status.
       of environmental and engineered systems that involve a wide
       range of matrices (i.e. soils, sorbents, air, natural waters,               Gowanus Canal Superfund Site, NY – Expert Witness.
       constructed materials, and biological tissue).                              Evaluated available historical data, performed fate and
                                                                                   transport analyses, and developed a detailed
       CREDENTIALS                                                                 understanding of facility operations to support the facility
       Post Doctorate, Forensic Science Center, Lawrence                           designation of de minimis status.
            Livermore National Laboratory, 2004;
       Ph.D., Environmental Engineering, University of California                  San Diego Harbor, CA – Expert Witness. Evaluated available
            at Berkeley, Berkeley, CA, 2002;                                       historical data, performed fate and transport analyses, and
       M.S., Material Science and Mineral Engineering -                            developed a detailed understanding of facility operations
            Hydrogeology, University of California at Berkeley,                    to support an Expert Report that evaluated potential
            Berkeley, CA, 1998; and,                                               metals, PCBs, and petroleum releases from the Silvergate
       B.A., Geoscience, Franklin & Marshall College, Lancaster,                   Power Plant.
            PA, 1996.




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                   Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 36 of 45

                                                                                                 Adam H. Love, Ph.D.
PROFESSIONAL PROFILE
                                         Vice President/Principal Scientist, Litigation Practice Leader
        San Francisco Bay, CA – Collected sediment cores from                     Napa, CA – Expert Witness. Prepared an Expert
        Naval Air Station Alameda and performed isotopic and                      Declaration regarding the potential sources of PCE
        chemical analyses that enabled reconstruction of historical               contamination to soil and groundwater contamination.
        sediment contamination.
                                                                                  Davis, CA – Expert Witness. Prepared an Expert Report
       Industrial                                                                 regarding the potential sources of PCE contamination of
        Manufacturing Facilities, CA – Provided litigation support                groundwater.
        based on fate and transport analysis related to timing of
        groundwater contamination resulting from multiple                         Numerous Sites, USA – Evaluation of the source, timing,
        potential PCE, TCE, TCA and 1,4-dioxane releases to                       and/or contribution from multiple PRPs to comingled
        groundwater managed by Orange County Water District.                      PCE plumes from drycleaner sites related to
        Additional chemical fingerprinting analysis was                           environmental insurance claims.
        performed to distinguish on-site versus off-site                        Per- and Polyfluorinated Alkyl Substances (PFAS)
        contributions of chlorinated solvents and their                          AFFF PFAS Forensics – Evaluated spectrum of AFFF
        degradation products to the associated groundwater                       formulations to identify unique forensic signatures of
        plumes.                                                                  source and timing of AFFF releases and relative
        Industrial Facility, AZ – Expert Witness. Provided litigation            contributions.
        support based on fate and transport analysis related to                   Groundwater Plumes, NY – Sampled and evaluated impacts
        source and timing of groundwater contamination                            at multiple industrial sites to determine the source(s),
        resulting from potential PCE, TCE, and TCA sources.                       extent and magnitude of PFAS concentrations in
        Former Military Facility, CA. – Expert Witness. Evaluated                 groundwater.
        claimed cleanup actions and costs related to site                         Wastewater Effluent, NJ – Evaluated PFAS chemicals in
        investigation and remediation of a former military site.                  wastewater effluent in order to assess sources and relative
        Former Military Facility, KS. – Expert Witness. Evaluated                 contributions of PFAS discharges.
        claimed cleanup actions and costs related to site                         Military Base Soil/Groundwater Impacts, CA – Evaluated
        investigation and remediation of a former military site.                  extent and magnitude of PFAS impacts for in AFFF
        Aerospace Facility, CA. – Expert Witness. Evaluated available             training area and remedies that are protective of human
        historical data, performed fate and transport analyses, and               and ecological exposure endpoints.
        developed a detailed understanding of facility operations               Heavy Metals
        that provide the technical basis for assessing contribution              Battery Recycling Facility, CA – Expert Witness. Evaluated
        of PCE, TCE, and TCA from various operations.                            available historical emissions/capacity data, performed
        Transportation Spill, CA. – Expert Witness. Prepared an                  fate and transport analyses, and assessed the extent and
        Expert Report evaluating the potential ecological impact                 magnitude of lead and other heavy metals contamination
        of an ink spill into a local river.                                      in soils surrounding the Exide Technologies lead battery
                                                                                 recycling facility. Worked together with lead regulatory
        Former Military Facility, CA. – Performed site investigation             agency to develop interior/exterior assessment and
        of soil and groundwater at a former military site to                     remediation protocols. Analyzed reported results of
        determine the extent and magnitude of historical solvents                community blood lead data.
        and petroleum releases in order to inform remedial
        strategy. Obtained regulatory closure under low-threat                    Steel Manufacturing Facility, CA – Expert Witness. Evaluated
        closure criteria.                                                         available historical operations, soil lead and arsenic data,
                                                                                  and chemical signatures of steel manufacturing from soils
       Drycleaners                                                                within and adjacent to the historic steel manufacturing
        Pleasanton, CA – Evaluated site conditions and advised on                 facility.
        investigation and remediation strategy. Developed
        conceptual site model. Developed strategy for regulatory                  Facility and Regulatory Assessments of Hexavalent Chromium,
        interactions.                                                             CA - Evaluated how changes in regulatory rules and
                                                                                  enforcement would impact facilities in Los Angeles
        Santa Barbara, CA – Expert Witness. Prepared an Expert                    County. Created inventory of facilities in LA County that
        Report assessing sources of PCE contamination to soil                     emitted hexavalent chromium. Evaluated alternative
        and groundwater contamination, including drycleaner                       technology to using hexavalent chromium for metal
        discharges into sewer system and releases at adjacent sites.              plating.
        Rebuttal Expert Report also assessed the expected
        remedial costs for PCE contamination at and emanating                     GIS Database of Potential Hexavalent Chromium Sources, CA –
        from the site.                                                            Using knowledge of industrial processes combined with
                                                                                  industrial compliance and reporting documentation,
        San Jose, CA– Expert Witness. Prepared an Expert                          developed a GIS database of potential hexavalent sources
        Declaration regarding the potential sources of PCE                        for a Southern California county.
        contamination to soil and groundwater contamination
        and the divisibility of the contamination from the                        Naturally-Occurring Hexavalent Chromium in Drinking Water,
        potential sources.                                                        CA – Expert Witness. Assessed potential industrial sources



       1/2019                                            555 12th Street Suite 250 | Oakland CA 94607                                      2 of 8
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                   Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 37 of 45

                                                                                                 Adam H. Love, Ph.D.
PROFESSIONAL PROFILE
                                          Vice President/Principal Scientist, Litigation Practice Leader
        and naturally-occurring sources of hexavalent chromium                    Documented site cleanup activities were consistent with
        to a municipal drinking water distribution system.                        State of Oklahoma’s process for regulatory closure..
        Hexavalent Chromium Air Emissions from a Metal Plating
        Facility, CA – Expert Witness. Modeled hexavalent                         Retail Gasoline Stations, CO – Expert Witness. Performed
        chromium emissions from multiple sources of hexavalent                    fate, transport and degradation analysis of gasoline to
        chromium in an industrial area, including a metal-plating                 determine the timing of gasoline releases. Prepared an
        facility. Model was calibrated and validated using actual air             Expert Report regarding the release of gasoline from 80+
        sampling data. Determined the extent and magnitude of                     fueling facilities throughout the state.
        emissions target facility and the relative contribution                   Crude Oil Refinery, CA – Expert Witness. Performed
        compared to other nearby sources.                                         evaluation of timing of release and source of
        Metal Recycling Facility, CA – Assessed facility compliance               contamination related to historical refinery operations.
        with DTSC hazardous waste regulations. Negotiated with                    Used Oil System Collection and Recycling, CA – Expert Witness.
        DTSC on behalf of client. Developed plan for hazardous                    Developed a report for the State of California on how to
        waste treatment/disposal that meets DTSC requirements.                    improve the state’s used oil recycling program. Provided
        Mixed Industrial Region, IN – Evaluated historical                        testimony to CA State legislature on proposed used oil
        operations, soil lead and arsenic data, and chemical                      recycling incentive bills. Key technical contributor to
        signatures of potential industrial sources with locations on              stakeholder discussion on ongoing CalRecycle efforts for
        and adjacent to the historic industrial manufacturing                     additional used oil recycling improvement.
        facilities.                                                               Retail Gasoline Station, MD – Expert Witness. Performed
        Metal Plating Facility, IN – Expert Witness. Prepared an                  evaluation of timing of release and source of
        Expert Report regarding the evaluation of a claimed                       contamination impacting nearby groundwater. Evaluated
        environmental release and associated costs that occurred                  contaminant contributions from adjacent property and
        during an electrical fire at a metal plating facility.                    both current and former owner/operator.

        Metal Plating Facility, CA – Expert Witness. Prepared an                  Underground Fuel Oil Tank, NY – Expert Witness. Performed
        Expert Declaration regarding the evaluation of the                        evaluation of timing of release and source of
        various former site operations that potentially contributed               contamination for fuel oil impacting groundwater.
        site contamination.                                                       Long Island Sound, NY – Expert Witness. Evaluated if the
        Mineral Processing Facility, CA – Expert Witness. Prepared an             released liquid was an oil, as per Oil Pollution Act of 1990
        Expert Report regarding the contribution of an accidental                 (OPA 90).
        elemental mercury spill at the Searles Valley Minerals                    Timing of Petroleum Release, Numerous States – Performed
        Operations Inc. site to the overall historic site                         fate, transport and degradation analysis of gasoline and
        contamination. Analyzed invoices and categorized                          fuel oil to determine the timing of releases at 200+
        cleanup costs into emergency spill costs vs. soil                         gasoline station and fuel oil sites related to environmental
        remediation activities.                                                   insurance claims.
       Petroleum                                                                Landfills
        Petroleum Transfer Facility, CA – Expert Witness. Prepared an            Groundwater solvent plume, CA – Expert Witness. Evaluated
        Expert Report assessing the release of gasoline, diesel fuel,            the available operation information, site investigation
        and crude oil over 50+ years into the soil and sediment of               data, and performed fate and transport analysis to
        Avila Beach, CA. Identified the source and timing of the                 determine the source, timing, and number of release
        historical contamination and the nature of the releases                  events at landfill operating for over 50 years.
        using multiple lines of scientific forensic techniques.
        Performed fate, transport and degradation analysis of                     Multi-COC Contamination, NJ – Evaluated the available
        gasoline, diesel fuel, and crude oil to determine the                     operation information, site investigation data, and
        divisibility of “sudden and accidental” releases from                     performed fate and transport analysis to determine the
        frequent releases related to facility operations.                         divisibility of the COC contamination among PRPs.
                                                                                  Multi-COC Contamination, WA – Evaluated the available
        Pipeline Release, CA – Expert Witness. Performed technical                operation information, site investigation data, and
        evaluation of historical operations, extent and magnitude                 performed fate and transport analysis to determine the
        of impacts, and fate and transport pathways to develop                    divisibility of the COC contamination among PRPs.
        model for an allocation of contribution among multiple
        pipeline companies, sewer operator, and oil recycling                   Radionuclides
        facility.                                                                Radionuclide-containing Products Manufacturing, PA – Expert
                                                                                 Witness. Evaluated available historical data, performed fate
        Pipeline Release, OK – Expert Witness. Performed technical               and transport analyses, and developed a detailed
        evaluation of extent and magnitude of impacts, fate and                  understanding of facility operations at the Safety Light
        transport pathways, and bioremediation potential.                        Superfund Site that provided the technical basis for
                                                                                 recommendations to DOJ on a feasible strategy for and



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                   Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 38 of 45

                                                                                                 Adam H. Love, Ph.D.
PROFESSIONAL PROFILE
                                         Vice President/Principal Scientist, Litigation Practice Leader
        potential allocation of arranger liability. Site contaminated             a deflagration event that occurred in a transportation
        with numerous radionuclides (tritium [H-3], strontium                     vehicle.
        [Sr-90], cesium [Cs-137], and radium [Ra-226]).
                                                                                ADDITIONAL AREAS OF EXPERTISE AND EXPERIENCE
        Release of Radionuclides from Testing Equipment, OK –                   Weapons of Mass Destruction Preparation and
        Evaluated whether the response actions taken were                       Response
        reasonable and necessary related to the investigation and                Provide technical guidance and operational plan reviews
        remediation of a cesium [Cs-137] release.                                for responding to WMD events. Technical guidance
                                                                                 includes emergency response, site characterization, WMD
        Radionuclide Labeling Facility, CA – Sampled tree rings in               forensics, site remediation, fate and transport, site closure.
        the vicinity of a Lawrence Berkeley National Laboratory                  Co-led team in development of DHS/EPA Federal facility
        stack that emitted tritium [H-3] and analyzed tree rings in              restoration guidance document for critical infrastructure.
        order to reconstruct facility emission for >50 years.
                                                                                Development of Chemical/Isotopic Signatures/
       Pesticides                                                               Fingerprints
        Atrazine, Numerous locations in USA – Provided expert                    Develop and validate new chemical/isotopic fingerprint
        litigation support regarding the fate and transport of                   strategies as well-as utilize peer-reviewed techniques.
        atrazine, timing of release, and potential impacts to                    Experienced with numerous approaches: intended
        drinking water sources.                                                  chemical markers and additives, chemical component
        Glyphosate, Oakland, CA – Provided deposition and trial                  ratios, degradation analysis, isotope analysis, biomarkers,
        testimony regarding the source of glyphosate                             isomers/congener analysis.
        contamination causing property damage on an adjacent                    Chemical Fate and Transport Modeling
        parcel of land based on atmospheric transport, technology                Conducts analyses using a variety of industry-accepted
        dispersal capability, site conditions, and impact patterns               approaches, including analytic solutions and numerical
        on parcel.                                                               models MODFLOW, MT3D, HYDRUS, BIOCHLOR,
        Trichloropropane (1,2,3-TCP), CA – Evaluated potential                   CAMEO/ALOHA, CALPUFF, HPAC.                 Determines
        sources of trichloropropane groundwater contamination                    aqueous and/or atmospheric plume migration exposure
        in drinking water wells.                                                 duration and magnitude.
       Human Exposure Assessment                                                JOURNAL PUBLICATIONS
        Chemical Vapor Exposure, WA – Expert Witness. Evaluated                 Environmental Forensics
        the source of chemical vapors and the potential for                       Ram, N.M.; Schneider, M.W.; Gerbig, C.A., Nevins, N.;
        downwind vapor exposure to workers.                                          Love, A.H. (2019) Allocating Cleanup Costs Among
                                                                                     Potentially Responsible Parties. Remediation. 30:33-45.
        School District Astroturf, CA – Collected astroturf samples               Zdon, A.; Rainville, K.; Buckmaster, N.; Parmenter, S.; Love,
        and conducted consumer product testing to provide data                       A.H. (2019) Identification of Source Water Mixing in the
        which supported the assessment of potential exposure                         Fish Slough Spring Complex, Mono County, California,
        pathways and human health risk assessment for children,                      USA. Hydrology. 6, 26.
        workers, and recreational users.                                          Love, A.H. and Zdon, A. (2018) Use of Radiocarbon Ages to
                                                                                     Narrow Groundwater Recharge Estimates in the
        Caustic Liquid Exposure, MI – Evaluated potential sources                    Southeastern Mojave Desert, USA. Hydrology. 5(3):51.
        of caustic chemical liquids that resulted in worker skin
        burns.                                                                    Zdon, A.; Davisson, M.L.; Love, A.H. (2018)
                                                                                     Understanding the source of water for selected springs
        Proposition 65 Phthalates, CA – Collected consumer product                   within Mojave Trails National Monument, California.
        samples and conducted consumer product testing to                            Environmental Forensics. 19(2), 99-111.
        determine potential consumer exposure pathways and
        magnitude.                                                                Dorrance, L.R.; Kellogg, S.; Love, A.H. (2017) What You
                                                                                    Should Know About Per- and Polyfluoroalkyl
        Proposition 65 Heavy Metals, CA – Evaluated lead data and                   Substances (PFAS) for Environmental Claims.
        developed a testing and evaluation plan to determine                        Environmental Claims Journal, 29:4, 290-304.
        levels of naturally occurring metals in identified food
        products.                                                                 Shelley, T.M.; Love, A.H. (2015) A Question of Proof:
                                                                                     Using Isotope Analysis and Chemical Fingerprinting
       Explosive and Fire Assessment                                                 to Identify the Source of Contamination. Environmental
        Forensic Explosive Evaluation, CA – Expert Witness.                          Claims Journal, 27:3, 264-275.
        Collected field samples and evaluated chemical and
        operational information to determine the likely cause of                  Zdon, A.; Davisson, M.L.; Love, A.H. (2015) Testing the
        an explosion event at an industrial facility.                                Established Hydrogeologic Model of Source Water to
                                                                                     the Amargosa River Basin, Inyo and San Bernardino
        Forensic Deflagration Evaluation, CA – Expert Witness.                       Counties, California. Environmental Forensics. 16(4).
        Evaluated field reports, inventory, and operational
        information to determine the likely contributing causes of                Love, A.H., J.R. Hunt, J.P. Knezovich. (2004) Improving
                                                                                     Tritium Exposure Reconstructions Using Accelerator




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                   Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 39 of 45

                                                                                                 Adam H. Love, Ph.D.
PROFESSIONAL PROFILE
                                         Vice President/Principal Scientist, Litigation Practice Leader
           Mass Spectrometry. Analytical          and    Bioanalytical               Human and Ecological Risk Assessment: An International
           Chemistry. 379(2): 198-203.                                               Journal, 17(1) : 57 – 121.
        Love, A.H., B.K. Esser, J.R. Hunt. (2003) Reconstructing                  Campbell C.J., Love A.H. (2008) Monitoring Water
           Contaminant Deposition in a San Francisco Bay                            Resources for Threats to Water Security. New Topics in
           Marina. Journal of Environmental Engineering. 129 (7):659.               Water Resources Research and Management. Henrik M.
                                                                                    Andreassen (Ed.). Nova Science Publishers, Inc. pp.
        Love, A.H., J.R. Hunt, J.P. Knezovich. (2003) Use of                        195-235.
           Carbon-14 and Tritium in Tree Rings to Reconstruct
           Tritium Exposure at Lawrence Berkeley National                         Ramkumar, S.; Love, A.H.; Sata, U.R.; Kendall, R.J. (2008)
           Laboratory. Environmental Science and Technology. 37 (19):                Next-Generation Nonparticulate Dry Nonwoven Pad
           4330.                                                                     for Chemical Warfare Agent Decontamination. Ind.
                                                                                     Eng. Chem. Res. 47: 9889-9895.
       Contaminant Fate and Transport
        Kuo, I-Feng; Grant, C.; Gee, R.; Chinn, S.; Love, A.H.                  Other Publications
          (2012) Determination of the Surface Effects on Sarin                   Boston, C; Love, A.H. (2018) Understanding the
          Degradation The Journal of Physical Chemistry C. 116 (17),                Uncertainty with Unregulated Contaminants.
          9631–9635.                                                                American Bar Association. Environmental & Energy
                                                                                    Litigation Committee Newsletter. Spring 2018. 2(3):9-
        Love, A.H. (2008) Determining Important Parameters                          16.
           Related to Cyanobacterial Alkaloid Toxin Exposure.
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       • Goldberg v. Goss-Jewett Company, Inc., et al., United                    Group, LLC, et al. Circuit Court for Baltimore County,
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      Case 3:18-cv-01199-VC Document 107-3 Filed 02/20/20 Page 44 of 45




 1                                        PROOF OF SERVICE

 2 STATE OF CALIFORNIA, COUNTY OF ALAMEDA

 3       At the time of service, I was over 18 years of age and not a party to this action. I am
   employed in the County of Alameda, State of California. My business address is 2120 University
 4 Avenue, Berkeley, CA 94704.

 5       On December 9, 2019, I served true copies of the following document(s) described as
     EXPERT REPORT OF ADAM H. LOVE on the interested parties in this action as follows:
 6
                                   SEE ATTACHED SERVICE LIST
 7
      X BY MAIL: I enclosed the document(s) in a sealed envelope or package addressed to the
 8 persons at the addresses listed in the Service List and placed the envelope for collection and
   mailing, following our ordinary business practices. I am readily familiar with Environmental
 9 General Counsel LLP's practice for collecting and processing correspondence for mailing. On the
   same day that the correspondence is placed for collection and mailing, it is deposited in the
10 ordinary course of business with the United States Postal Service, in a sealed envelope with
   postage fully prepaid.
11
      X BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the
12 document(s) to be sent from e-mail address bkoh@egcounsel.com to the persons at the e-mail
   addresses listed in the Service List. I did not receive, within a reasonable time after the
13 transmission, any electronic message or other indication that the transmission was unsuccessful.

14          I declare under penalty of perjury under the laws of the United States of America that the
     foregoing is true and correct.
15
            Executed on December 9, 2019, at Berkeley, California.
16

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18                                                    BETH B. KOH
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                                           3:18-cv-01199
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